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Exhibit A

Sale Agreement
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EXECUTION

ASSET SALE AGREEMENT
BY AND AMONG
NORTEL NETWORKS CORPORATION
NORTEL NETWORKS LIMITED
NORTEL NETWORKS INC.
NORTEL NETWORKS UK LIMITED
NORTEL NETWORKS (IRELAND) LIMITED

NORTEL NETWORKS S.A.

AND
THE OTHER ENTITIES IDENTIFIED HEREIN AS SELLERS

AND

ALAN BLOOM, STEPHEN HARRIS, ALAN HUDSON, DAVID HUGHES AND
CHRISTOPHER HILL AS JOINT ADMINISTRATORS

AND
MAITRE COSME ROGEAU AS FRENCH LIQUIDATOR
AND

ROCKSTAR BIDCO, LP

DATED AS OF JUNE 30, 2011

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Exhibit C — [Intentionally Omitted]
Exhibit D — Knowledge of the Purchaser

Exhibit E — Mandatory Antitrust Approvals — Relevant Antitrust Jurisdictions /
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Exhibit F — Form of U.S. Sale Order

Exhibit G — Form of Canadian Approval and Vesting Order
Exhibit H —- Employee Transfer Side Agreement

Exhibit I — Form of Short-Form Patent Assignment

Exhibit J - Form of Assumption Agreement

Exhibit K — Form of Patent Power Of Attorney

Exhibit L — Form of Closing Date License Agreement

Exhibit M — Disclosed Intercompany Licenses

ANNEX

Annex I — Statements
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ASSET SALE AGREEMENT

This Asset Sale Agreement is dated as of June 30, 2011, among (1) Nortel
Networks Corporation, a corporation organized under the laws of Canada (“NNC”); (ii) Nortel
Networks Limited, a corporation organized under the laws of Canada (“NNL”’); (iii) Nortel
Networks Inc., a corporation organized under the laws of Delaware (“NNI,” and, together with
NNC and NNL, the “NA Sellers”); (iv) the entities listed in Exhibit A hereto (the “EMEA
Sellers”), which, in the case of Nortel Networks UK Limited (in administration) (““NNUK’”),
Nortel Networks France S.A.S. (in administration) and Nortel GmbH (in administration) are
acting by Alan Robert Bloom, Stephen John Harris, Alan Michael Hudson and Christopher John
Wilkinson Hill of Ernst & Young LLP (the “UK Joint Administrators”) and in the case of
Nortel Networks (Ireland) Limited (in administration) (“NN Ireland”) is acting by David
Hughes of Ernst & Young Chartered Accountants and Alan Robert Bloom (the “Trish Joint
Administrators’’) (the UK Joint Administrators and the Irish Joint Administrators being
collectively, the “Joint Administrators”), and in the case of Nortel Networks S.A. (in
administration and liquidation judiciaire) (“NNSA”) is acting by the UK Joint Administrators
and Maitre Cosme Rogeau, 26 avenue Hoche, 78000 VERSAILLES appointed as mandataire
liquidateur by the French Court (as defined below) (the “French Liquidator’), the Joint
Administrators act as agents of the EMEA Sellers without any personal liability and the French
Liquidator acts as agent of NNSA without any personal liability; (v) the entities listed in
Exhibit B hereto (the “Other Sellers” and, together with the NA Sellers and the EMEA Sellers,
the “Sellers”); (vi) the French Liquidator; (vii) the Joint Administrators; and (viii) Rockstar
Bidco, LP, a Delaware limited partnership (the “Purchaser’).

WITNESSETH:

WHEREAS, on January 14, 2009 (the “Petition Date”), NNC and NNL
(together, the “Canadian Debtors”) filed with the Canadian Court (as defined below) an
application for protection under the Companies’ Creditors Arrangement Act (as in force on the
Petition Date, the “CCAA”) (the proceedings commenced by such application, the “CCAA
Cases’) and were granted certain initial creditor protection pursuant to an order issued by the
Canadian Court on the same date, which also appointed Ernst & Young Inc. as “Monitor” in
connection with the CCAA Cases and was extended by further order of the Canadian Court on
February 25, 2011;

WHEREAS, NNI and the Other Sellers listed in Exhibit B hereto (the “U.S.
Debtors”) are debtors-in-possession under the U.S. Bankruptcy Code (as defined below) which
commenced cases under Chapter 11 of the U.S. Bankruptcy Code on the Petition Date by filing
voluntary petitions for relief in the U.S. Bankruptcy Court for the District of Delaware (the
“Chapter 11 Cases”);

WHEREAS, the EMEA Sellers on the Petition Date filed applications with the
English Court (as defined below), pursuant to the Insolvency Act of 1986, as amended (the
“Insolvency Act”) and the European Union’s Council Regulation (EC) No 1346/2000 on
Insolvency Proceedings (the “EC Regulation”) (the proceedings commenced by such
applications, the “EMEA Cases”) and the English Court appointed Alan Bloom, Stephen Harris,
Christopher Hill and Alan Hudson of Ernst & Young LLP as joint administrators of the EMEA
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Sellers (other than NN Ireland, for which David Hughes of Emst & Young Chartered
Accountants and Alan Bloom serve as joint administrators) under the Insolvency Act by means
of the Administration Orders (as defined below);

WHEREAS, on May 28, 2009, secondary proceedings were opened by the French
Court (as defined below) in relation to NNSA pursuant to Article 27 of the EC Regulation (the
“Secondary Proceedings”) pursuant to which the French Court authorized NNSA to continue to
operate the business owned and operated by NNSA and appointed inter alia the French Office
Holders as the administrators and liquidators of NNSA under Articles L.641-1 et seq. of the FCC
(the “French Case”’);

WHEREAS, on May 2, 2011, the U.S. Bankruptcy Court entered the U.S.
Bidding Procedures Order and the Canadian Court entered the Canadian Sales Process Order
(each as defined below);

WHEREAS, the Sellers have agreed to transfer to the Purchaser, and the
Purchaser has agreed to purchase and assume, including, to the extent applicable, pursuant to
sections 363 and 365 of the U.S. Bankruptcy Code and pursuant to the Canadian Approval and
Vesting Order, the Assets and the Assumed Liabilities (each as defined below) from the Sellers,
upon the terms and conditions set forth hereinafter;

WHEREAS, in accordance with the U.S. Bidding Procedures Order (as defined
below), Purchaser and Apple Inc. have together delivered to the Sellers a good faith deposit in
the amount of Fifty-Four Million Dollars ($54,000,000) (the “Good Faith Deposit”); and

WHEREAS, the Parties (as defined below) acknowledge and agree that the
purchase by the Purchaser of the Assets (as defined below), and the assumption by the Purchaser
of the Assumed Liabilities (as defined below) are being made at arm’s length and in good faith
and without intent to hinder, delay or defraud creditors of the Sellers and their affiliates.

NOW, THEREFORE, in consideration of the respective covenants,
representations and warranties made herein, and of the mutual benefits to be derived hereby (the
sufficiency of which is acknowledged), the Parties agree as follows:

ARTICLE I

INTERPRETATION

SECTION 1.1. Definitions. The following capitalized terms shall have the
meanings set forth below:

“Accounting Arbitrator” means the auditing firm of international reputation that
is (i) jointly selected by the Primary Parties, or (ii) in case they cannot agree on any such firm,
such other auditing firm of international reputation (or, if the Primary Parties agree on other
criteria, such Person as satisfies such other criteria) that is selected by the American Arbitration
Association at the request of the first of the Primary Parties to move.
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“Action” means any litigation, action, suit, charge, binding arbitration, or other
legal, administrative or judicial proceeding, including Intellectual Property litigation (including
infringement, indemnification, and declaratory judgment actions).

“Administration Expense” means any liability of an EMEA Seller which ranks
as an administration expense in accordance with paragraph 99 of Schedule B1 to the Insolvency
Act or Rule 2.67 of the Insolvency Rules 1986.

“Administration Orders” means the orders of the English Court on the Petition
Date appointing the Joint Administrators as joint administrators of the EMEA Sellers.

“Affiliate” means, as to any Person, any other Person that directly or indirectly
through one or more intermediaries Controls, or is under common Control with, or is Controlled
by, such Person.

“Agreed Expenses” means those costs, fees and expenses set forth in
Section 1.1(a) of the Sellers Disclosure Schedule.

“Agreement” means this Asset Sale Agreement, the Sellers Disclosure
Schedule and all Exhibits and Schedules attached hereto and thereto and all amendments hereto
and thereto made in accordance with Section 10.4.

“Alternative Transaction” means the sale, transfer or other disposition, directly
or indirectly, of any material portion of the Assets, in a transaction or series of transactions with
one or more Third Parties; provided, howeve r, that an “Alternative Transaction” shall not
include: (i) the mere conversion of any of the Chapter 11 Cases to a case under Chapter 7 of the
U.S. Bankruptcy Code, in and of itself, without any disposition of any material portion of the
Assets other than to the Chapter 7 trustee in such case by operation of Law; (ii) the mere
appointment of a trustee, receiver, receiver and manager or liquidator in respect of any Canadian
Debtor, in and of itself, without any disposition of any material portion of the Assets (other than
to such trustee, receiver, receiver and manager or liquidator by operation of Law) or the mere
dismissal of any CCAA Cases or the mere conversion of any of the CCAA Cases to a bankruptcy
case under the Bankruptcy and Insolvency Act or applicable Canadian Bankruptcy Laws, in and
of themselves; or (iii) the mere appointment (whether in connection with Secondary Proceedings
or otherwise) of a trustee, receiver, receiver and manager or liquidator or any analogous officer
in respect of any EMEA Seller, in and of itself, without any disposition of any material portion
of the Assets (other than to such trustee, receiver, receiver and manager, liquidator or analogous
officer by operation of Law) or the mere termination of the EMEA Cases (or any of them) or
discharge of the Administrators (or any of them), in and of themselves, or the mere conversion of
any of the EMEA Cases to liquidation or any analogous proceeding under the Insolvency Act,
EC Regulation or applicable Law relating to the EMEA Sellers, in and of themselves, in the case
of each of the foregoing clauses (i), (ii) and (iii) that is not funded or sponsored in whole or in
part by one or more Third Parties and does not otherwise involve any other contractual
arrangement with one or more Third Parties having the effect of a disposition of any material
portion of the Assets.

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“Antitrust Laws” means the Competition Act (Canada), as amended, the HSR
Act, the EC Merger Regulation, and any competition, merger control and antitrust Law of the
European Union, any applicable European Union member states and European Free Trade
Association member states, and any other applicable supranational, national, federal, state,
provincial or local Law designed or intended to prohibit, restrict or regulate actions having the
purpose or effect of monopolizing or restraining trade or lessening competition of any other
country or jurisdiction, to the extent applicable to the transactions contemplated by this
Agreement.

“Asset Retention Transaction” means the retention of any material portion of
the Assets by the Sellers, their successor entities emerging from the Bankruptcy Proceedings or
the Affiliates of the foregoing under a standalone plan of reorganization, plan of liquidation or
plan of arrangement; provided,howeve 1, that an “Asset Retention Transaction” shall not include:
(i) the mere conversion of any of the Chapter 11 Cases to a case under Chapter 7 of the U.S.
Bankruptcy Code, in and of itself; (ii) the mere appointment of a trustee, receiver, receiver and
manager or liquidator in respect of any Canadian Debtor, in and of itself, or the mere dismissal
of any CCAA Cases or the mere conversion of any of the CCAA Cases to a bankruptcy case
under the Bankruptcy and Insolvency Act or applicable Canadian Bankruptcy Laws, in and of
themselves; or (iii) the mere appointment (whether in connection with Secondary Proceedings or
otherwise) of a trustee, receiver, receiver and manager or liquidator or any analogous officer in
respect of any EMEA Seller, in and of itself, or the mere termination of the EMEA Cases (or any
of them) or discharge of the Administrators (or any of them), in and of themselves, or the mere
conversion of any of the EMEA Cases to liquidation or any analogous proceeding under the
Insolvency Act, EC Regulation or applicable Law relating to the EMEA Sellers, in and of
themselves; provided further,howev er, that an “Asset Retention Transaction” shall include:

(a) conversion of any of the Chapter 11 Cases to a case under Chapter 7 of the U.S. Bankruptcy
Code that occurs prior to the entry of the U.S. Sale Order and in which the trustee in such
Chapter 7 case has not agreed to be bound by this Agreement; (b) the appointment of a trustee,
receiver, receiver and manager or liquidator in respect of any Canadian Debtor that occurs prior
to the granting of the Canadian Approval and Vesting Order and in which such trustee, receiver,
receiver and manager or liquidator in such bankruptcy case has not agreed to be bound by this
Agreement; and (c) the appointment (whether in connection with Secondary Proceedings or
otherwise) of a trustee, receiver, receiver and manager or liquidator or any analogous officer in
respect of any EMEA Seller that occurs prior to the entry of the U.S. Sale Order and in which
such trustee, receiver, receiver and manager or liquidator or any analogous officer has not agreed
to be bound by this Agreement.

“Assets” has the meaning set forth in Section 2.1.1.

“Assigned Contracts” means (i) the Transferred Licenses and (ii) other Contracts
identified on Section 1.1(b) of the Sellers Disclosure Schedule.

“Assumed Liabilities” has the meaning set forth in Section 2.1.3.

“Assumption Agreement” means a duly executed assumption of intellectual
property license agreement in the form attached as Exhibit J hereto.
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“Auction” has the meaning attributed to such term in the U.S. Bidding Procedures
Order.

“Bankruptcy Consents” has the meaning set forth in Section 4.1(a).

“Bankruptcy Court” means the U.S. Bankruptcy Court, the Canadian Court, the
English Court, the French Court or any other court before which Bankruptcy Proceedings are
held.

“Bankruptcy Laws” means the U.S. Bankruptcy Code, the CCAA, the EC
Regulation, the Insolvency Act, the FCC and the other applicable bankruptcy, insolvency,
administration or similar Laws of any jurisdiction where Bankruptcy Proceedings are held.

“Bankruptcy Proceedings” means the Chapter 11 Cases, the CCAA Cases, the
EMEA Cases, the French Case and, in each case, any proceedings occurring or authorized
thereunder, as well as any other voluntary or involuntary bankruptcy, insolvency, administration
or similar judicial or other proceedings concerning any of the Sellers that are held from time to
time.

“Business Day” means a day on which the banks are opened for business
(Saturdays, Sundays, statutory and civic holidays excluded) in (i) New York,New York, United
States, (ii) Stockholm, Sweden (iii) Toronto, Ontario, Canada, and (iv) London, England, United
Kingdom.

“Canadian Approval and Vesting Order” has the meaning set forth in
Section 5.2(a).

“Canadian Approval and Vesting Order Motion” has the meaning set forth in
Section 5.2(a).

“Canadian Court” means the Ontario Superior Court of Justice (Commercial
List).

“Canadian Debtors” has the meaning set forth in the recitals to this Agreement.

“Canadian Sales Process Order” means the order entered on May 2, 2011
approving the items described in the Canadian Sales Process Order Motion.

“Canadian Sales Process Order Motion” means the motion filed by the
Canadian Debtors on May 2, 2011 with the Canadian Court seeking an order for approval of,
among other things, a process of the sale of the Canadian Debtors rights, title or interest in and to
the “Assets” (as defined therein).

“Canadian Sellers” means, collectively, NNC and NNL.

“CCAA” has the meaning set forth in the recitals to this Agreement.

“CCAA Cases” has the meaning set forth in the recitals to this Agreement.

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“CDMA Vesting Order” means the Approval and Vesting Order of the Ontario
Superior Court of Justice dated July 28, 2009.

“Change of Control” means (A) the direct or indirect acquisition (including by
merger, consolidation or transfer or issuance of equity securities or otherwise) in a transaction or
series of related transactions of 50% or more of the equity or voting interests in a Person
(B) otherwise obtaining the right to elect a majority of the board of directors (or similar
governing body) of such Person or (C) the acquisition of all or substantially all of the assets of
such Person; provided that the actions of the type specified in clauses (i), (ii) and (iii) of the first
proviso in the definition of Asset Retention Transaction (disregarding the references to the
specific Sellers) shall not constitute a Change of Control.

“Chapter 11 Cases” has the meaning set forth in the recitals to this Agreement.

“Claim in the CCAA Cases” means any right of any Person, including the right
to an equitable remedy, against the Canadian Debtors and the other applicants in the CCAA
Cases, or any of them or their assets, in connection with any indebtedness, liability or obligation
of any kind of the Canadian Debtors and the other applicants in the CCAA Cases, or any of
them, whether liquidated, unliquidated, fixed, contingent, matured, unmatured, disputed,
undisputed, legal, equitable, secured, unsecured, recourse, non-recourse, present, future, known
or unknown, by guarantee, surety or otherwise and whether or not such right is executory in
nature, including the right or ability of any Person to advance a claim for contribution or
indemnity or otherwise with respect to any matter, action, cause or chose in action, whether
existing at present or commenced in the future, and any indebtedness, liability or obligation of
any kind, including the right to an equitable remedy, arising out of the restructuring, termination,
repudiation or disclaimer of any lease, contract, or other agreement or obligation on or after the
Petition Date.

“Claim in the Chapter 11 Cases” has the meaning ascribed to the term “claim”
in section 101(5) of the U.S. Bankruptcy Code.

“Closing” has the meaning set forth in Section 2.3.1.
“Closing Date” has the meaning set forth in Section 2.3.1.
“Closing Date License Agreement” has the meaning set forth in Section 5.13(a).

“Closing Taxable Year” means the taxable year in which the acquisition of the
Assets is consummated and the Optioned Licenses are granted.

“Code” means the United States Internal Revenue Code of 1986, as amended.

“Collective Labor Agreement” means any written agreement that a Seller or any
of its Affiliates has entered into with any union, works council or collective bargaining agent or
that applies with respect to terms and conditions of employment of the Employees of such Seller
or its Affiliates.

“Commitment Letters” has the meaning set forth in Section 3.3(a).

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“Commitments” has the meaning set forth in Section 3.3(a).

“Commercial Licenses” means the Pre-Divestiture Commercial Licenses, the
Post-Divestiture Commercial Licenses and the End-User Licenses.

“Common Interest Agreement” means an agreement, in a form to be mutually
agreed reasonably and in good faith following the date hereof and prior to the Closing Date, by
and among the Parties, to be dated as of the Closing Date, providing for the common interest
privilege to attach, to the maximum extent permitted by applicable Law, to any privileged Patent
Related Documents or other privileged documents to be acquired by the Purchaser pursuant to
this Agreement or any other Transaction Document (it being understood that such Common
Interest Agreement shall not diminish, terminate or otherwise affect any attorney-client privilege,
protection pursuant to the work product doctrine or other privilege or protection of any Party
with respect to any such documents).

“Consent” means any approval, authorization, consent, order, license, permission,
permit, qualification, exemption, revocation or waiver by any Government Entity or other Third
Party, but shall not include any consent that is rendered unnecessary by operation of Bankruptcy
Laws.

“Continuing Unlisted License” means, with respect to any Transferred Patent,
Specified UK Patent or Jointly Owned Patent, any license under such Transferred Patent,
Specified UK Patent or Jointly Owned Patent granted prior to the date hereof which license is not
specifically listed (including by use of defined term) on Schedule 2.1.1(a) of the Sellers
Disclosure Schedule and which license, pursuant to and after giving effect to the License
Rejection Procedures (as defined and set forth in the U.S. Bidding Procedures and Sale Motion)
and the Canadian License Rejection Procedures (as defined in and set forth in the Canadian Sales
Process Order Motion), continues to burden such Transferred Patent, Specified UK Patent or
Jointly Owned Patent following the consummation of the transactions contemplated by this
Agreement.

“Contract” means any written binding contract, agreement, instrument, lease,
ground lease or commitment.

“Control,” including, with its correlative meanings, “Controlled by” and “under
common Control with”, means, in connection with a given Person, the possession, directly or
indirectly, of the power to either (i) elect more than fifty percent (50%) of the directors of such
Person or (ii) direct or cause the direction of the management and policies of such Person,
whether through the ownership of securities, contract or otherwise.

“Cross-Border Protocol” means that certain Cross-Border Insolvency Protocol
approved by the U.S. Bankruptcy Court’s Order Pursuant to 11 U.S.C. § 105(a) Approving
Cross-Border Court-to-Court Protocol, dated January 15, 2009, and the Canadian Court in an
order, dated January 14, 2009, as the same has been and may be further amended from time to
time.

“Cross-License Agreements” has the meaning set forth in Annex I.

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“Cure Cost” means (i) any amounts required by the U.S. Bankruptcy Code,
including section 365(b)(1) thereof, and any applicable order of the U.S. Bankruptcy Court to
cure any defaults by the Sellers or any of their Affiliates under a 365 Contract and to pay any
actual pecuniary losses that have resulted from such defaults under such 365 Contract and
(ii) with respect to any Non-365 Contract (other than Contracts of a Canadian Debtor that are
assignable to the Purchaser without the consent of the counterparty), any amounts necessary to
cure any defaults and to pay any actual pecuniary losses under such Contract in respect of the
period prior to the Petition Date.

“Damages” means all claims, demands, suits, Actions, causes of actions, losses
(including, for the avoidance of doubt, loss of profits, internal costs, loss of revenue and lost
sales), costs, damages, liabilities and out-of-pocket expenses incurred or paid, including
reasonable attorneys’ fees (including such fees which are incurred in connection with a dispute
of the provisions of this Agreement), fines, penalties, costs of investigation or settlement, other
professionals’ and experts’ fees, and court or arbitration costs (but specifically excluding any
special, punitive, exemplary or speculative damages except to the extent such damages
specifically excluded herein are awarded to a Third Party).

“Data Room” means the Merrill electronic data site entitled “Iceberg.”
“Deferred Jurisdiction” has the meaning set forth in Section 5.6(f).
“Designated Courts” has the meaning set forth in Section 10.6(b)(i).

“Disclosed Intercompany Licenses” means those Contracts listed in Exhibit M
hereto.

“Distribution Agent” means the Person that will act as distribution agent for the
Sellers hereunder, the identity of which to be notified in writing by the Primary Seller Parties to
the Purchaser by not later than five (5) Business Days prior to the Closing.

“Divested Business” means the businesses or product lines of the Sellers set forth
on Section 1.1(1) of the Sellers Disclosure Schedule sold after the Petition Date in connection
with the Bankruptcy Proceedings.

“Divestiture Date” means with respect to each of the Divested Business set forth
on Section 1.1(1) of the Sellers Disclosure Schedule, the date that such divestiture is or was
completed.

“EC Merger Regulation” means Council Regulation (EC) No 139/2004 of
January 20, 2004 on the control of concentrations between undertakings, as amended.

“EC Regulation” has the meaning set forth in the recitals to this Agreement.
“EMEA Cases” has the meaning set forth in the recitals to this Agreement.

“EMEA Sellers” has the meaning set forth in the preamble to this Agreement.
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“Employee” means an employee of the Sellers whose employment relates to the
development, maintenance or management of the Assets.

“End-User License” means any Contract entered into by, on behalf of or under
authority of Sellers or their Affiliates prior to the date hereof and, to the extent that would be
permitted after the Closing pursuant to the Closing Date License Agreement, after the date
hereof, including any click-through or shrink wrap license, that (i) accompanies the sale,
servicing (including support, maintenance and installation) or licensing of any Nortel Product to
an end user or customer in the ordinary course of business, and (ii) includes a non-exclusive
grant of a license to the customer or end user under any of the Transferred Patents, the Jointly
Owned Patents, or the Specified UK patents, where such license is limited to the right to use
such Nortel Product.

“English Court” means the High Court of Justice of England and Wales.
“Ericsson” means Ericsson AB or any of its Affiliates.

“Ericsson Licenses” means (i) that certain Intellectual Property License
Agreement by and between NNL, NNI, the EMEA Sellers, the Joint Administrators and Ericsson
AB, classified as document number 2.5.3.175.4 in the Data Room and (ii) that certain Transition
Services Agreement between NNL, NNI, NNUK, NN Ireland, the Joint Administrators and
certain other Affiliates of the Sellers and Telefonaktiebolaget L M Ericsson (publ).

“ERISA” means the Employee Retirement Income Security Act of 1974, as
amended.

“ERISA Affiliate Liability” means any obligation, liability, or expense of any
Seller which arises under or relates to any employee benefit plan or arrangement of Seller or its
affiliates that is subject to Title IV of ERISA, Section 302 of ERISA, Section 412 of the Code,
COBRA or any other statute or regulation that imposes liability on a so-called “controlled group”
basis with or without reference to any provision of Section 414 of the Code or Section 4001 of
ERISA, including by reason of any Seller’s affiliation with any of any trade or business, whether
or not incorporated, that together with the Seller would be deemed a “single employer” within
the meaning of Section 4001(b) of ERISA (an “ERISA Affiliate”)or the Purchaser or any of its
limited partners being deemed a successor to any ERISA Affiliate of any Seller.

“Excess VAT” has the meaning set forth in Section 6.9(e)(ii).

“Excluded Assets” has the meaning set forth in Section 2.1.2.

“Excluded Liabilities” has the meaning set forth in Section 2.1.4.
“Excluded Licenses” has the meaning set forth in Section 2.1.2(i).
“Excluded Patents” means only the specifically identified patents, patent

applications and provisional patent applications listed in Section 1.1(c) of the Sellers Disclosure
Schedule.

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“Executory Contract” means an “executory contract” for the purposes of the
U.S. Bankruptcy Code.

“Exercise Price” has the meaning set forth in Section 5.19(b).
“FCC” means the French Commercial Code.

“Final Order” means an order of any Bankruptcy Court or other court of
competent jurisdiction (a) as to which no appeal, notice of appeal, motion for leave to appeal,
motion to amend, vacate or make additional findings of fact, motion to alter or amend judgment,
motion for rehearing, amendment, vacatur, additional findings or alteration or amendment of
judgment or motion for new trial has been timely filed or, if any of the foregoing has been timely
filed, it has been disposed of in a manner that upholds and affirms the subject order, with respect
to the U.S. Sale Order and Canadian Approval and Vesting Order in a manner consistent with the
provisions of Sections 5.1(b) and 5.2(a), and, with respect to any other orders, in all material
respects, without the possibility for further appeal or rehearing thereon; (b) as to which the time
for instituting or filing an appeal, motion for rehearing or motion for new trial shall have expired;
and (c) as to which no stay is in effect; provided,h owever, that, with respect to an order issued
by the U.S. Bankruptcy Court, the filing or pendency of a motion under Federal Rule of
Bankruptcy Procedure 9024 (“Rule 9024”) or Federal Rule of Civil Procedure 60 (“Rule 60”)
shall not cause an order not to be deemed a “Final Order” unless, in the case of a Rule 9024
motion, such motion shall be filed within fourteen (14) days of the entry of the order at issue or,
in the case of a Rule 60 motion, such motion shall be filed within thirty (30) days of the entering
of the order at issue.

“French Case” has the meaning set forth in the recitals to this Agreement.

“French Court” means the Commercial Court of Versailles or a member of the
Commercial Court of Versailles, and in particular the “juge commissaire” appointed by such
Court in a supervisory capacity in the context of the Secondary Proceedings, or of any superior
French Court.

“French Court Order” means that certain order of the French Court dated April
28, 2011, entered in accordance with the FCC in connection with the transactions contemplated
hereby and in the other Transaction Documents and authorizing the French Liquidator to execute
this Agreement and any and all other Transaction Documents in furtherance hereof.

“French Liquidator” has the meaning set forth in the preamble to this
Agreement.

“French Office Holders” means the mandataire liquidateur and the
administrateur judiciaire appointed by the French Court on the opening of the Secondary
Proceedings.

“Good Faith Deposit” has the meaning set forth in the preamble to this
Agreement.

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“Government Entity” means any U.S., Canadian, UK, supranational, foreign,
domestic, federal, territorial, provincial, state, municipal or local governmental authority, quasi-
governmental authority, instrumentality, court, government or self-regulatory organization,
commission, tribunal or organization or any regulatory, administrative or other agency, or any
political or other subdivision, department or branch of any of the foregoing, including the
European Commission.

“GST/HST” means goods and services tax or harmonized sales tax payable under
Part IX of the Excise Tax Act (Canada).

“HSR Act” means the United States Hart-Scott-Rodino Antitrust Improvements
Act of 1976, as amended.

“ICA Approval” means: (a) if the transactions contemplated by this Agreement
are subject to review under Part IV of the Investment Canada Act, the Purchaser shall have
received notification from the responsible Minister under the Investment Canada Act that he is
satisfied or is deemed to be satisfied that the transactions contemplated in this Agreement are
likely to be of net benefit to Canada, on terms and conditions satisfactory to the Purchaser, in its
reasonable discretion, and (b) the Purchaser shall not have received notice from the responsible
Minister under either subsection 25.2(1) of the Investment Canada Act or subsection 25.3(2) of
the Investment Canada Act within the period prescribed by the Investment Canada Act or, if the
Purchaser has received such a notice, the Purchaser shall have subsequently received one of the
following notices, as applicable: (i) under paragraph 25.2(4)(a) of the Investment Canada Act
indicating that no order for the review of the transactions contemplated by this Agreement will
be made under subsection 25.3(1) of the Investment Canada Act, (ii) under paragraph 25.3(6)(b)
of the Investment Canada Act indicating that no further action will be taken in respect of the
transactions contemplated by this Agreement, or (iii) under subsection 25.4(1) of the Investment
Canada Act that the Governor in Council authorizes the completion of the transactions
contemplated by this Agreement, on terms and conditions satisfactory to the Purchaser, in its
reasonable discretion.

“Incremental Taxes” means the excess of (i) the cash Taxes actually paid or
payable by a Canadian Seller, a U.S. Seller or an EMEA Seller, as the case may be, for the
Closing Taxable Year and subsequent taxable years as a result of the receipt of the Optioned
Licenses Fees, over (ii) the cash Taxes that would have been payable by a Canadian Seller, a
U.S. Seller, or an EMEA Seller, as the case may be, for the Closing Taxable Year and
subsequent taxable years if the Optioned Licenses had not been granted and the amount of the
Optioned License Fees had instead been paid as additional Purchase Price for the Assets, in each
case taking into account the character of the income recognized by the Canadian Sellers, the U.S.
Sellers or the EMEA Sellers, as the case may be, in the Closing Taxable Year and subsequent
taxable years, the Tax rates actually applicable to the Canadian Sellers. the U.S. Sellers or the
EMEA Sellers, as the case may be, in the Closing Taxable Year or such subsequent taxable
years, the deductibility or creditability in one jurisdiction of Taxes imposed by another
jurisdiction and any limitations thereon, and determined in each case as if all losses, undeducted
expenses, tax credits or any other tax attributes that are available under Applicable Law as
determined by the Canadian Sellers, the U.S. Sellers or the EMEA Sellers, as the case may be, in
their reasonable discretion, could have been used to reduce the amount of cash Taxes payable by

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the Canadian Sellers, the U.S. Sellers or the EMEA Sellers, as the case may be, for the Closing
Taxable Year or a subsequent taxable year had been so used.

“Insolvency Act” has the meaning set forth in the recitals to this Agreement.

“Intellectual Property” means all intellectual property rights as recognized under
the Laws of the United States of America, Canada and/or other countries or jurisdictions,
including rights in and to: (a) Trademarks; (b) Patents, invention disclosures and inventions;

(c) copyrights and works of authorship; (d) Trade Secrets; and (e) Software; in each case,
including any registrations or applications therefor.

“Intercompany Contract” means any Contract among any Seller or Affiliate of a
Seller on the one hand, and any other Seller(s) or Affiliate(s) of any Seller on the other hand, and
to which no Third Party is a party.

“Inventory” means Nortel Products (i) owned by Sellers or their Affiliates that
are part of the inventory of products of the Sellers or their Affiliates existing as of the date
hereof, or (ii) that Sellers or their Affiliates have ordered or committed to buy pursuant to
Contracts in existence as of the date hereof and that are actually delivered to and received by the
Sellers or their Affiliates into inventory by one year from the Closing Date.

“Investment Canada Act” means the Investment Canada Act, as amended.

“Irish Joint Administrators” has the meaning set forth in the preamble to this
Agreement.

“Joint Administrators” has the meaning set forth in the preamble to this
Agreement.

“Jointly Owned Patents” means (a) those patents, provisional patent applications
and patent applications specifically identified as such in Section 1.1(d) of the Sellers Disclosure
Schedule (the “Listed Jointly Owned Patents”); (b) national (of any country of origin) and
multinational patents or patent applications (i) to which any of the Listed Jointly Owned Patents
claims priority (directly or indirectly), (ii) for which any of the Listed Jointly Owned Patents
forms a basis for priority (directly or indirectly), and/or (iii) which are subject to a terminal
disclaimer with any of the Listed Jointly Owned Patents; (c) reissues, reexaminations,
continuations, continuations-in-part, continuing prosecution applications, requests for continuing
examinations, divisions, registrations or other extensions of any item in any of the foregoing
categories (a) and (b); (d) national (of any country of origin) and multinational counterparts of
any item in any of the foregoing categories (a) through (c), including certificates of invention,
design registrations and utility models; (e) all rights provided by multinational treaties or
conventions for any item in any of the foregoing categories (a) through (d); and (f) the inventions
disclosed in the invention disclosures set forth in Section 1.1(d) of the Sellers Disclosure
Schedule; but in the case of each of clauses (b) through (d), (1) solely to the extent owned, at
least in part, by the Sellers, and (2) excluding the Excluded Patents and the Transferred Patents.

“Joint Ownership Agreement” has the meaning set forth in Annex I(m).

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“Knowledge” or “aware of” or “notice of” or a similar phrase shall mean, with
reference to the Sellers, the actual knowledge of those Persons listed on Section 1.1(e)(i) of the
Sellers Disclosure Schedule, after having made reasonable inquiry of those Persons listed on
Section 1.1(e)(ii) of the Sellers Disclosure Schedule and, with reference to the Purchaser, the
actual knowledge of those Persons listed on Exhibit D hereto.

“Law” means any U.S., Canadian, U.K., supranational, foreign, domestic, federal,
territorial, state, provincial, local or municipal statute, law, common law, ordinance, rule,
regulation, order, writ, injunction, directive, judgment, decree or policy or guideline having the
force of law.

“Liabilities” means debts, liabilities, commitments and obligations, whether
accrued or fixed, absolute or contingent, matured or unmatured or determined or undeterminable,
including those arising under any Law or Action and those arising under any contract,
agreement, arrangement, commitment or undertaking or otherwise, including any Tax liability or
tort liability.

“License Power of Attorney” shall have the meaning set forth in Section 10.1.

“Licensed Residual Patents” means (i) all Patents (other than Transferred
Patents, Jointly Owned Patents, Specified UK Patents and Excluded Patents) owned in whole or
in part by any of the Sellers or any of their Affiliates, (ii) all inventions, other than the Listed
Inventions, disclosed in the invention disclosures owned by any of the Sellers or any of their
Affiliates,if an y such Patents or inventions exist and (iii) all Patents, other than Transferred
Patents, Jointly Owned Patents, Specified UK Patents and Excluded Patents, in respect of which
any Seller or any Affiliate of any Seller holds an exclusive license to all or substantially all of the
rights thereunder.

“Lien” means any lien (statutory or otherwise), mortgage, pledge, security
interest, charge, hypothecation, encumbrance, easement, encroachment, right-of-way, right of
first offer, right of first refusal, restrictive covenant on real property, real property license, lease,
lien or similar charge of any kind (including any conditional sale arrangement or other title
retention agreement). For the avoidance of doubt, “Lien” does not include any Intellectual
Property license.

“Listed Inventions” has the meaning set forth in the definition of Transferred
Patents.

“Listed Patents” has the meaning set forth in the definition of Sellers’ Patents.

“Mandatory Regulatory Approvals” means (i) a decision, in whatever form
(including a declaration of lack of jurisdiction or a mere filing or notification, if the Closing can
take place, pursuant to the applicable Antitrust Law, without a decision or the expiry of any
waiting period) by any Government Entity under the Antitrust Laws of any of the jurisdictions
listed in Exhibit E or the expiry of the applicable waiting period, as applicable, under the
Antitrust Laws of any of such jurisdictions, in each case authorizing or not objecting to the
transactions contemplated by this Agreement; and (ii) the ICA Approval, which includes, in each
case, as applicable, any decision or consent by any such Government Entity setting forth

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conditions or obligations on the Purchaser or any of its Affiliates if such conditions or
obligations have been or, pursuant to Section 5.6(e), are required to be, accepted by the
Purchaser.

“Master R&D Agreement” shall mean that certain intercompany license
agreement by and among certain Sellers and Affiliates of Sellers effective as of January 1, 2001,
and as thereafter amended, all as designated in the Data Room as the “MRDA as filed” at
document index 2.4.5.1.

“Material Adverse Effect” means any circumstance, state of fact, event, change
or effect (each an “Effect”) that, individually or in the aggregate with all other Effects, (a) has, or
would reasonably be expected to have, a material adverse effect on the Assets, taken as a whole,
or (b) prevents or materially impedes or delays or would reasonably be expected to prevent or
materially impede or delay the ability of the Sellers to perform their obligations under this
Agreement or the timely consummation of the transactions contemplated by this Agreement,
provided, howev er, that the following Effects, either alone or in combination, shall not be
considered in determining whether there has been a “Material Adverse Effect”: (1) changes in
general economic conditions in relevant markets; (ii) the execution or delivery of this Agreement
or the public announcement thereof; (iti) any action required to be taken pursuant to this
Agreement or any action taken pursuant to the written request or with the prior written consent of
the Purchaser; (iv) changes to the industries and markets to which the Transferred Patents relate;
(v) changes in Law, generally accepted accounting principles or official interpretations of the
foregoing; and (vi) the pendency of the Bankruptcy Proceedings.

“Monitor” means Ernst & Young Inc., in its capacity as the Canadian Court-
appointed Monitor in connection with the CCAA Cases.

“NA Sellers” has the meaning set forth in the preamble to this Agreement.
“New York Courts” has the meaning set forth in Section 10.6(b)(i).
“NNC” has the meaning set forth in the preamble to this Agreement.
“NNI” has the meaning set forth in the preamble to this Agreement.

“NN Ireland” has the meaning set forth in the preamble to this Agreement.
“NNL” has the meaning set forth in the preamble to this Agreement.
“NNSA” has the meaning set forth in the preamble to this Agreement.
“NNTC” has the meaning set forth in Section 6.5(b).

“NNUK*” has the meaning set forth in the preamble to this Agreement.
“Non-Disclosure Agreement” means the non-disclosure agreement by and

among the Purchaser, NNL, NNI and other parties thereto, dated June 9, 2011, as well as any
exhibits and amendments thereto and restatements thereof.

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“Non-365 Contracts” means Assigned Contracts other than 365 Contracts.

“Nortel Parties” means the Sellers, any of the bankruptcy estates, the Joint
Administrators, the French Liquidator and any Person (i) in which, as of or subsequent to the
date hereof, any Seller holds more than fifty percent (50%) of the capital stock or other equity
interests or (ii) that is or was a Seller, and their respective Affiliates, and any former, current or
future general or limited partners, directors, officers, employees, agents, managers, members,
stockholders, assignees and representatives of any of the foregoing in their capacity as such.

“Nortel Products” means product models, including software (and components
thereof, including software, but in each case solely for use in such product models)
manufactured, developed, sold, offered for sale or otherwise distributed by, on behalf of, or
within the scope of, (i) the businesses of the Sellers and their Affiliates prior to the Petition Date
and (ii) each Divested Business after the Petition Date but prior to its Divestiture Date; provided,
that any such product models manufactured, developed, sold, offered for sale or otherwise
distributed by or on behalf of the Sellers after March 11, 2011 (the “Reference Divestiture
Date”) shall not be “Nortel Products” with respect to Contracts entered into after the Reference
Divestiture Date, unless such product models would be permitted to be manufactured, developed,
sold, offered for sale or otherwise distributed after the Closing Date pursuant to the Closing Date
License Agreement.

“Nortel Services” means services of the type provided within the scope of (i) the
businesses of the Sellers and their Affiliates prior to the Petition Date and (ii) the businesses of
each Divested Business after the Petition Date but prior to its Divestiture Date; provided, that
any such services provided after the Reference Divestiture Date shall not be “Nortel Services”
unless such services would be permitted to be provided after the Closing Date pursuant to the
Closing Date License Agreement.

“Option Trigger Notice” has the meaning set forth in Section 5.19(b).
“Optioned Licenses” has the meaning set forth in Section 5.27.

“Optioned Licenses Fees” has the meaning set forth in Section 5.27.
“Other Sellers” has the meaning set forth in the preamble to this Agreement.
“Outbound License Agreements” has the meaning set forth in Annex I.
“Outside Date” has the meaning set forth in Section 8.1(b).

“Partial Allocation” has the meaning set forth in Section 2.2.3(b).

“Party” or “Parties” means individually or collectively, as the case may be, the
Sellers and the Purchaser.

“Patent Databases” has the meaning set forth in Section 2.1.1(e).

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“Patent Power of Attorney” means documents appointing attorneys for the
Purchaser and/or the Purchaser’s designees with full power to execute documents and take all
other steps solely in connection with (a) effectuating and implementing the assignment of the
Transferred Patents and Purchased Specified UK Patents to the Purchaser pursuant to this
Agreement, (b) perfecting the Purchaser’s title in, to and under the Transferred Patents and
Purchased Specified UK Patents pursuant to such assignment and (c) as otherwise necessary for
related bona fide purposes on a limited, case-by-case basis with the consent of the Primary Seller
Parties (not to be unreasonably withheld or delayed), in each of cases (a) through (c) in the patent
offices of various countries around the world, at or after Closing, including, with respect to
United States Patents, the power of attorney substantially as set forth in the form at Exhibit K,
and similar forms as required for each of the various countries.

“Patent Related Documentation” means each of the following in paper, digital
or other form, to the extent existing as of the date hereof or the Closing Date:

(i) the physical and electronic patent prosecution files and dockets relating to
any of the Transferred Patents or Purchased Specified UK Patents
(including all original granted patents and patent prosecution files held by
prosecuting attorneys);

(ii) the Listed Inventions;

(ii)JRAND/ —FRAND and other statements, assurances, declarations,
agreements, or undertakings made to standards-setting organizations with
respect to the Transferred Patents and Purchased Specified UK Patents;

(iv) litigation files to the extent relating to Actions brought for infringement of
the Transferred Patents or Purchased Specified UK Patents;

(v) copies of Outbound License Agreements and Cross-License Agreements;

(vi) ribbon copies of all of the Transferred Patents and Purchased Specified
UK Patents;

(vii) infringement claim charts for the Transferred Patents and Purchased
Specified UK Patents prepared by or for the Sellers;

(viii) all books, records, files, ledgers or similar documents stored in the Sellers’
document management systems used to track, organize or maintain Patents,
to the extent related to the Transferred Patents or Purchased Specified UK
Patents;

(ix) all documents at any time contained in the Data Room and available to the
Purchaser, other than documents that have been updated or superseded by
subsequent drafts of such documents the latest drafts of which are
available in the Data Room as of the date hereof;

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(x) copies of acquisition agreements relating to stand-alone acquisitions of
patents by the Sellers to the extent relating to the Transferred Patents or
Purchased Specified UK Patents; and

(xi) | assignment agreements to the extent relating to the Transferred Patents or
Purchased Specified UK Patents;

provided, that “Patent Related Documentation” shall not include (i) the
competitively sensitive portions of the foregoing that relate exclusively to Excluded Assets,
Excluded Liabilities or any current or past product lines of the Sellers and (ii) any of the
foregoing relating to any Specified UK Patent to the extent that (and for so long as) its disclosure
to Purchaser is restricted under applicable Law.

“Patents” means all national (of any country of origin) and multinational patents,
patent applications and provisional patent applications, and reissues, divisions, continuations,
continuations-in-part, continuing patent applications, extensions and reexaminations thereof, and
all rights therein provided by multinational treaties or conventions.

“Permitted Encumbrances” means (i) any Lien arising by operation of Law in
respect of a liability of the EMEA Sellers where such liability does not rank as an Administration
Expense; (ii) Liens arising hereunder or under any Assigned Contracts (after giving effect to the
assignment hereunder) if such Liens exclusively secure Assumed Liabilities; (iii) Liens imposed
by any Bankruptcy Court in connection with the Bankruptcy Proceedings that are discharged at
Closing pursuant to the terms of the Canadian Approval and Vesting Order or the U.S. Sale
Order (or, in the case of Undisclosed Patent Interests, upon transfer pursuant to Section 5.19);
(iv) Liens set forth in Section 1.1(g) of the Sellers Disclosure Schedule; (v) entitlements,
customary covenants, restrictions and other similar charges or encumbrances securing a liability
of the EMEA Sellers only that do not, individually or in the aggregate, impair in any material
respect the use or value of the Assets subject thereto and that exclusively secure Assumed
Liabilities and (vi) (x) the promises, declarations and commitments granted, made or committed
in writing by the Sellers to standard-setting bodies or industry groups concerning the Transferred
Patents, Purchased Specified UK Patents or Undisclosed Patent Interests, and (y) the
commitments concerning the Transferred Patents, Purchased Specified UK Patents or
Undisclosed Patent Interests granted in writing by the Sellers pursuant to the membership
agreements, by-laws-or policies of standard-setting bodies or industry groups in which Sellers
were participants,solel y to the extent the Sellers are bound by such standard-setting bodies’ or
industry groups’ membership agreements, by-laws or policies to bind the Purchaser to such
commitments.

“Person” means an individual, a partnership, a corporation, an association, a
limited or unlimited liability company, a joint stock company, a trust, a joint venture, an
unincorporated organization or other legal entity or Government Entity.

“Petition Date” has the meaning set forth in the recitals to this Agreement.

“Post-Closing Taxable Period” means any taxable period or portion thereof
beginning after the Closing Date.

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“Post-Divestiture Commercial License” means with respect to each Divested
Business, any Contract entered into with Sellers or Affiliates of the Sellers, on or after the
Divestiture Date for such Divested Business, in connection with (i) performance required by
Retained Contracts (including, for the avoidance of doubt, the Retained Contracts themselves) or
(ii) sale, offer for sale, importation, distribution and/or lease of Inventory; in each case, where
such Contract includes a non-exclusive grant of rights under any of the Transferred Patents, the
Jointly Owned Patents, or the Specified UK Patents limited in time and scope to activities that
would be permitted after the Closing Date pursuant to the terms of the Closing Date License
Agreement.

“Pre-Closing Taxable Period” means any taxable period or portion thereof
ending on or prior to the Closing Date.

“Pre-Divestiture Commercial License” means any Contract entered into prior to
the Petition Date in the ordinary course of business and, with respect to each Divested Business,
any Contract entered into after the Petition Date but prior to the Divestiture Date in the ordinary
course of business of such Divested Business, that: (1) provides for: (i) the manufacture of any
Nortel Product by, for or on behalf of, or under authority of, any Seller or any Affiliate of any
Seller, (ii) the sale, offer for sale, importation, distribution and/or lease (or in the case of
software, licensing) of any Nortel Product by, for or on behalf of, or under authority of, any
Seller or any Affiliate of any Seller, (iii) the servicing, including support, maintenance and
installation, of any Nortel Product by, for or on behalf of, or under authority of, any Seller or any
Affiliate of any Seller and use of Nortel Products in connection therewith, (iv) the provision by,
for or on behalf of, or under authority of any Seller or any Affiliate of any Seller of Nortel
Services and use of Nortel Products in connection therewith, (v) the right to interoperate or
interface (excluding air interfaces) with any Nortel Product and to use, make, sell, offer for sale,
import, distribute and/or lease (or in the case of software, license), and support and maintain, the
interface or the interoperability information (or software that provides the interface or
interoperability), including as part of a Third Party product (but solely to the extent of the
interface or the interoperability information); or (vi) research and/or development, and the right
to make, use, sell, offer for sale, import, lease and support products, inventions or technologies
resulting from such research and/or development, provided that (A) such Contract is with at least
one of the Sellers or one of their Affiliates, (B) there is no ongoing performance of research
and/or development by Sellers or their Affiliates under such Contract as of the date hereof,

(C) such contract includes a defined scope for the research and development, (D) the scope of
any Patent license granted under such Contract is limited to the products, inventions or
technologies developed as a result of the research and development within the defined scope for
such Contract, and (E) such Contract (w) is with a university or research institution, (x) is a joint
research and/or development agreement, (y) provided for research and/or development by at least
one of the Sellers or one of their Affiliates or (z) provided for research and/or development that
was directed at Nortel Products or was otherwise for or on behalf of Sellers or their Affiliates;
and (2) included a non-exclusive grant of rights under any of the Transferred Patents, the Jointly
Owned Patents or the Specified UK Patents limited to any of the activities referred to in clauses
(i) - (vi) above.

“Primary Party” means (i) the NA Sellers and NNUK, on the one hand, and
(ii) the Purchaser, on the other hand.

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“Primary Seller Parties” means the NA Sellers and NNUK.
“Purchase Price” has the meaning set forth in Section 2.2.1.

“Purchased Specified UK Patents” means those Specified UK Patents assigned
to the Purchaser pursuant to the terms of this Agreement.

“Purchaser” has the meaning set forth in the preamble to this Agreement.
“Purchaser Authorized Agents” has the meaning set forth in Section 10.6(c).

“Purchaser Authorized Canadian Agent” has the meaning set forth in
Section 10.6(c).

“Purchaser Authorized EMEA Agent” has the meaning set forth in
Section 10.6(c).

“Purchaser Confidential Information” means (i) from and after the Closing,
competitively sensitive, proprietary or confidential information that pertains to the Assets, to the
Specified UK Patents, or to any identified Undisclosed Patent Interests that the Purchaser has
elected or is considering whether to elect to acquire pursuant to Section 5.19 (it being understood
that in the event any such information pertains to such assets but not exclusively to such assets,
Purchaser Confidential Information shall include only such portion of such information that
pertains to such assets and all such information shall be redacted to the maximum extent possible
before any such information is provided to any Person), including any information made
available to the Purchaser, any Sellers or their respective Affiliates following the Closing, and
(ii) any information that the Purchaser or its representatives furnish or otherwise make available
to the Sellers or their representatives that relates to the Assets, to the Specified UK Patents, or to
any identified Undisclosed Patent Interests or is otherwise furnished or made available by the
Purchaser or its representatives to the Sellers or their representatives in connection with the
evaluation of the transactions contemplated by this Agreement regardless of the form in which
such information is communicated or maintained, and such portion of any notes, dockets,
reports, analyses, compilations, studies, files, claim charts, or other documents or material,
whether prepared by the Sellers or others, which contain or otherwise reflect such information.

“Qualified Expenditures” has the meaning set forth in Section 6.5(b).

“Records Custodian” means a Person of international reputation that is
reasonably acceptable to the Purchaser and the NA Sellers.

“Restricted Technical Records” means the Livelink database or any other
similar database containing necessary documents with respect to the technical aspects of the
Qualified Expenditures of NNTC or NNL in their 2002 and subsequent taxation years.

“Retained Contracts” has the meaning set forth in Section 5.13(a).

“Secondary Proceedings” has the meaning set forth in the recitals to the
Agreement.

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“Section 10.1 Indemnification Claim” has the meaning set forth in
Section 10.1(b).

“Section 10.1 Notice of Claim” has the meaning set forth in Section 10.1(b).
“Section 10.1 Third Party Claim” has the meaning set forth in Section 10.1(a).
“Seller Authorized Agents” has the meaning set forth in Section 10.6(d).

“Seller Authorized Canadian Agent” has the meaning set forth in
Section 10.6(d).

“Seller Authorized EMEA Agent” has the meaning set forth in Section 10.6(d).
“Seller Authorized U.S. Agent” has the meaning set forth in Section 10.6(d).

“Seller Indemnitee” means the Sellers and their Affiliates, successors and
assigns, and each of the respective current and former members, officers, directors, employees,
agents, partners, and Affiliates and representatives of any such Person.

“Seller License Indemnitees” means each of the Sellers party to the Optioned
Licenses and such Sellers’ respective current and former members, officers, directors, agents,
employees, partners, and representatives of any such Person and, in respect of the EMEA Sellers,
the Joint Administrators and French Liquidator.

“Sellers” has the meaning set forth in the preamble to this Agreement.

“Sellers Disclosure Schedule” means the disclosure schedule delivered by the
Sellers to the Purchaser on the date hereof.

‘Sellers’ Patents” means all (a) provisional patent applications, patent
applications, and patents set forth in Section 1.1(h) of the Sellers Disclosure Schedule (all such
provisional patent applications, patent applications, and patents, collectively the “Listed
Patents”); (b) national (of any country of origin) and multinational patents or patent applications
(i) to which any of the Listed Patents claims priority (directly or indirectly), (ai) for which any of
the Listed Patents forms a basis for priority (directly or indirectly), and/or (iii) which are subject
to a terminal disclaimer with any of the Listed Patents; (c) reissues, reexaminations,
continuations, continuations in part, continuing prosecution applications, requests for continuing
examinations, divisions, registrations or other extensions of any item in any of the foregoing
categories (a) and (b); (d) national (of any country of origin) and multinational counterparts of
any item in any of the foregoing categories (a) through (c), including certificates of invention,
design registrations and utility models; and (e) all rights provided by multinational treaties or
conventions for any item in any of the foregoing categories (a) through (d); but in the case of
each of clauses (b) through (d), (i) solely to the extent owned by the Sellers, and (ii) excluding
the Excluded Patents.

“Short-Form Assignment” means short-form Patent assignments to be executed
by the Sellers and the Purchaser at or after the Closing, providing for the assignment of the

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Patents included in the Transferred Patents and Purchased Specified UK Patents from the Sellers
to the Purchaser, in substantially the form of the assignments set forth as Exhibit I.

“Software” means any computer programs, applications and interfaces, whether
in source code or object code, and all related documentation, user and operational guides and/or
manuals.

“Specified UK Patents” means (a) those patents, provisional patent applications
and patent applications specifically identified as such in Section 1.1(i) of the Sellers Disclosure
Schedule (“Specified Listed UK Patents”); (b) national (of any country of origin) and
multinational patents or patent applications (i) to which any of the Specified Listed UK Patents
claims priority (directly or indirectly), (ii) for which any of the Specified Listed UK Patents
forms a basis for priority (directly or indirectly), and/or (iii) which are subject to a terminal
disclaimer with any of the Specified Listed UK Patents; (c) reissues, reexaminations,
continuations, continuations in part, continuing prosecution applications, requests for continuing
examinations, divisions, registrations or other extensions of any item in any of the foregoing
categories (a) and (b); and (d) national (of any country of origin) and multinational counterparts
of any item in any of the foregoing categories (a) through (c), including certificates of invention,
design registrations and utility models; and (e) all rights provided by multinational treaties or
conventions for any item in any of the foregoing categories (a) through (d); but in the case of
each of clauses (b) through (4), (i) solely to the extent owned by the Sellers, and (ii) excluding
the Excluded Patents, it being understood that some of the items in categories (a)-(e) are subject
to restrictions imposed under applicable Law.

“Straddle Period” has the meaning set forth in Section 6.4(b).
“Subsidiary” of any Person means any Person Controlled by such first Person.

“Supplementary Non-Disclosure Agreement” means the supplementary non-
disclosure agreement by and among NNL, NNI and the Purchaser, dated as of June 9, 2010,
including any amendments thereto or restatements thereof.

“Tax” means (a) any domestic or foreign federal, state, local, provincial,
territorial or municipal taxes or other impositions by or on behalf of a Tax Authority or
Government Entity, including the following taxes and impositions: net income, gross income,
individual income, capital, value added, goods and services, harmonized sales, gross receipts,
sales, use, ad valorem, business rates, transfer, franchise, profits, business, environmental, real
property, personal property, service, service use, withholding, payroll, employment,
unemployment, severance, occupation, social security, excise, stamp, stamp duty reserve,
customs, and all other taxes, fees, duties, assessments, deductions, withholdings or charges of the
same or of a similar nature, however denominated, together with any interest, fines and penalties,
additions to tax or additional amounts imposed or assessed with respect thereto whether or not
disputed, and (b) any obligation to pay any amounts set forth in clause (a) with respect to another
Person, whether by contract, as a result of transferee or successor liability, as a result of being a
member of an affiliated, consolidated, combined or unitary group or otherwise for any period.

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“Tax Authority” means any local, municipal, governmental, state, provincial,
territorial, federal, including any U.S., Canadian, UK or other fiscal, customs or excise authority,
body or officials (or any entity or individual acting on behalf of such authority, body or officials)
anywhere in the world with responsibility for, and competent to impose, collect or administer,
any form of Tax.

“Tax Credit Purchaser” has the meaning set forth in Section 6.5(b).

“Tax Returns” means all returns, reports (including any amendments, elections,
declarations, disclosures, claims for refunds, schedules, estimates and information returns) and
other information filed or required to be filed with any Tax Authority relating to Taxes.

“Third Party” means any Person that is not a Party or an Affiliate of a Party.

“Trade Secrets” means trade secrets, know-how and confidential technical or
business information.

“Trademarks” means all trademarks, service marks, trade dress, logos, trade
names, corporate names, business names; in each case, whether or not registered, including all
common law rights therein, and registrations, applications for registration and renewals thereof,
and all rights therein provided by multinational treaties or conventions.

“Transaction Documents” means this Agreement and all ancillary agreements
entered into, or documents or instruments executed and delivered by, any Party pursuant to this
Agreement and in accordance with its terms.

“Transfer Taxes” means all goods and services, sales, excise, use, transfer, gross
receipts, documentary, filing, recordation, value-added, stamp, stamp duty reserve, and all other
similar Taxes, duties or other like charges, however denominated (including any real property
transfer Taxes and conveyance and recording fees and notarial fees) and for the avoidance of
doubt, shall exclude any Taxes on income or gains and shall include GST/HST and VAT (unless
otherwise stated), together with interest, penalties and additional amounts imposed with respect
thereto whether or not disputed.

“Transfer Tax Returns” has the meaning set forth in Section 6.7(a).

“Transferring Employees” shal] have the meaning set forth in that certain
Employee Transfer Side Agreement attached hereto as Exhibit H.

“Transferred Licenses” means the license agreements set forth in Section 1.14)
of the Sellers Disclosure Schedule and the Optioned Licenses.

“Transferred Patents” means (a) the Sellers’ Patents and (b) the inventions
disclosed in the invention disclosures set forth in Section 1.1(k) of the Sellers Disclosure
Schedule (the “Listed Inventions”).

“UK Joint Administrators” has the meaning set forth in the preamble to this

Agreement.

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“Undisclosed Patent Interest” has the meaning set forth in Section 5.19.
“U.S. Bankruptcy Code” means Title 11 of the United States Code.

“U.S. Bankruptcy Court” means the United States Bankruptcy Court for the
District of Delaware.

“U.S. Bankruptcy Rules” means the U.S. Federal Rules of Bankruptcy
Procedure.

“U.S. Bidding Procedures and Sale Motion” means the motion filed April 4,
2011 by the Sellers who are U.S. Debtors for orders authorizing and approving, among other
things, the Bidding Procedures (as defined therein) and the sale of the Assets (as defined
therein).

“U.S. Bidding Procedures Order” means the order entered May 2, 2011
authorizing and approving, among other things the Bidding Procedures (as defined in the U.S.
Bidding Procedures and Sale Motion).

“U.S. Debtors” has the meaning set forth in the recitals to this Agreement.
“U.S. Sale Order” has the meaning set forth in Section 5.1(b).

“U.S. Sellers” means, collectively, NNI and the Other Sellers set forth on Exhibit

“VAT” means value added tax imposed in any member state of the European
Union pursuant to EC Council Directive 2006/112 on the common system of value added tax
(Directive 2006/112) and national legislation implementing that Directive or any predecessor to
it or supplemental to that Directive or any tax of a similar nature which is imposed in any
member state of the European Union and which may be substituted for or levied in addition to it.

“365 Contracts” means the Assigned Contracts that are Executory Contracts of a
U.S. Debtor and were entered into before the Petition Date.

SECTION 1.2. Interpretation.

1.2.1 Gender and Number, Any reference in this Agreement to gender includes
all genders and words importing the singular include the plural and vice versa.

1.2.2 Certain Phrases and Calculation of Time. In this Agreement (i) the words
“including” and “includes” mean “including (or includes) without limitation,” (ii) the terms
“hereof,” “herein,” and “herewith” and words of similar import shall, unless otherwise stated, be
construed to refer to this Agreement and not to any particular provision of this Agreement, and
Article, Section, paragraph, Exhibit and Schedule references are to the Articles, Sections,
paragraphs, Exhibits and Schedules to this Agreement unless otherwise specified, (iii) in the
computation of periods of time from a specified date to a later specified date, unless otherwise
expressly stated, the word “from” means “from but excluding” and the words “to” and “until”

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each mean “to and including,” and (iv) the words “date hereof” or “date of this Agreement” shall
mean June 30, 2011. If the last day of any such period is not a Business Day, such period will
end on the next Business Day. When calculating the period of time “within” which, “prior to” or
“following” which any act or event is required or permitted to be done, notice given or steps
taken, the date which is the reference date in calculating such period is excluded from the
calculation. If the last day of any such period is not a Business Day, such period will end on the
next Business Day.

1.2.3 Headings, etc. The inclusion of a table of contents, the division of this
Agreement into Articles and Sections and the insertion of headings are for convenient reference
only and are not to affect or be used in the construction or interpretation of this Agreement.

1.2.4 Currency and Calculations. All monetary amounts in this Agreement,
unless otherwise specifically indicated, are stated in United States currency. All calculations and
estimates to be performed or undertaken, unless otherwise specifically indicated, are to be
expressed in United States currency. All payments required under this Agreement shall be paid
in United States currency in immediately available funds, unless otherwise specifically indicated.
Where another currency is to be converted into United States currency it shall be converted on
the basis of the exchange rate published in the Wall Street Journal, Eastern Edition for the day in
question.

1.2.5 Statutory References. Unless otherwise specifically indicated, any
reference to a statute in this Agreement refers to that statute and to the regulations made under
that statute, each as in force from time to time.

ARTICLE II

PURCHASE AND SALE OF ASSETS

SECTION 2.1. Purchase and Sale.

2.1.1 Assets. Subject to the terms and conditions of this Agreement, at the
Closing, the Purchaser shall purchase or be assigned and assume from the relevant Sellers, and
each Seller shall sell, convey, transfer, assign and deliver to the Purchaser all of its right, title and
interest throughout the world in the following assets as and to the extent existing on the Closing
Date, other than the Excluded Assets (the “Assets”) (x) in the case of Assets that are transferred
or assigned by U.S. Debtors, free and clear of all Liens and Claims in the Chapter 11 Cases
(other than Permitted Encumbrances and Liens created by or through the Purchaser or any of its
Affiliates) pursuant to sections 363 and 365 of the U.S. Bankruptcy Code, (y) in the case of
Assets that are transferred or assigned by the Canadian Debtors, free and clear of all Liens and
Claims in the CCAA Cases (other than Permitted Encumbrances and Liens created by or through
the Purchaser or any of its Affiliates) pursuant to the Canadian Approval and Vesting Order, and
(z) in the case of Assets that are transferred or assigned by the EMEA Sellers, free and clear of
all Liens (other than Permitted Encumbrances and Liens created by or through the Purchaser or
any of its Affiliates):

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(a) the Transferred Patents, Specified UK Patents, and any inventions and
improvements claimed or disclosed therein, subject only to (1) any licenses granted thereunder
(excluding any reservation of rights by the Sellers pursuant to such licenses) (i) prior to the date
hereof that are (x) granted pursuant to Commercial Licenses entered into prior to the date hereof,
(y) specifically listed (including by use of defined term) in Section 2.1.1(a) of the Sellers
Disclosure Schedule or (z) Continuing Unlisted Licenses (it being understood that (a) the
existence of any such Continuing Unlisted Licenses will not limit the Purchaser’s rights under
Sections 7.3(a) or 8.1(c)(i) hereof; and (b) the existence of any license will not provide the
Purchaser with any right or remedy under Section 7.3(a) or 8.1(c)(i) hereof based on a breach of
this Section 2.1.1(a)(i)); (ii) on or after the date hereof, but solely to the extent they are granted
in compliance with Section 5.9 and either (x) constitute licenses granted pursuant to Commercial
Licenses entered into on or after the date hereof or (y) are identified to the Purchaser in writing
prior to the Closing Date, and (2) any Optioned Licenses, but, in the case of the foregoing clause
(1), only to the extent that such licenses remain in force after Closing, together with (A) the right,
if any, to register or apply in all countries and regions in the Purchaser’s name for patents, utility
models, design registrations and like rights of exclusion and for inventors’ certificates for said
inventions and improvements; (B) the right to prosecute, maintain and defend the Transferred
Patents before any public or private agency, office or registrar; (C) the right, if any, to claim
priority based on the filing dates of any of the Transferred Patents under the International
Convention for the Protection of Industrial Property, the Patent Cooperation Treaty, the
European Patent Convention, the Paris Convention, and all other treaties of like purposes; and
(D) the right to sue and recover damages or other compensation for past, present or future
infringements thereof, the right to sue and obtain equitable relief, including injunctive relief, in
respect of such infringements, and the right to fully and entirely stand in the place of the Sellers
in all matters related thereto;

(b) the Assigned Contracts, any claims arising under such Assigned Contracts
on or after the Closing Date, and prepaid expenses of the Sellers thereunder;

(c) the tangible embodiments (including electronic copies) of all Patent
Related Documentation owned by the Sellers or their Affiliates to the extent in the possession or
under the control of the Sellers as of the date hereof or the Closing Date; provided that the
Sellers shall have the right to retain copies of any Patent Related Documentation for use in
accordance with Section 2.1.1(d);

(d) all rights to Intellectual Property (other than Trademarks) of any Seller, to
the extent embodied in the Patent Related Documentation and that relate (but with respect to
Patent Related Documentation listed in clauses (v) and (ix) of the definition of Patent Related
Documentation, only that exclusively relate) to the Transferred Patents or Purchased Specified
UK Patents; provided,ho wever, that (1) the Sellers shall have the right to use and disclose Patent
Related Documentation to the extent necessary to perform their obligations, defend against the
assertion of, or otherwise limit Liability with respect to the Excluded Liabilities so long as the
Sellers shall have caused any Person to whom any nonpublic Patent Related Documentation is '
disclosed to enter into a standard confidentiality agreement with the Purchaser, substantially in
the form of a model confidentiality agreement to be reasonably agreed among the Primary
Parties prior to the Closing Date, such entry by the Purchaser not to be unreasonably withheld,
conditioned or delayed; and (2) with respect to Patent Related Documentation listed in clauses

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(v) and (ix) of the definition of Patent Related Documentation that does not exclusively relate to
the Transferred Patents or Purchased Specified UK Patents, the Purchaser shall have the right to
use and disclose such Patent Related Documentation subject to the terms of the Non-Disclosure
Agreement and (as applicable) the Supplementary Non-Disclosure Agreement;

(e) all rights to the Sellers’ patent-related data applications set forth in
Section 2.1.1(e) of the Sellers Disclosure Schedule, which patent-related data applications are all
of those used in connection with the Transferred Patents and the Specified UK Patents to
organize, maintain or track information associated with the Patents (the “Patent Databases”);
provided that, with respect to the data applications set forth in Section 2.1.1(e) of the Sellers
Disclosure Schedule, the Sellers shall not transfer any rights with respect to such patent-related
data applications unless the Purchaser holds licenses to such applications as required for such
transfer on the Closing Date;

(f) all rights of the Sellers under any non-disclosure agreement, to the extent
such non-disclosure agreement relates to the Assets; and

(g) all assets described in Section 2.1.9 and those additional assets listed on
Section 2.1.1(g) of the Sellers Disclosure Schedule.

2.1.2 Excluded Assets. Notwithstanding anything in this Section 2.1 or
elsewhere in this Agreement or in any of the other Transaction Documents to the contrary, the
Sellers shall retain their respective right, title and interest in and to, and the Purchaser shall have
no rights with respect to the right, title and interest of the Sellers in and to, the following assets
(collectively, the “Excluded Assets”):

(a) cash and cash equivalents, accounts receivable (including intercompany
receivables but other than as provided in Section 2.1.1(b)), bank account balances and all petty
cash of the Sellers;

(b) all rights to Tax refunds, credits or similar benefits relating to the Assets
allocable to a Pre-Closing Taxable Period or to the portion of a Straddle Period ending on and
including the Closing Date, except to the extent expressly transferred by this Agreement to the
Purchaser;

(c) except as expressly provided herein, including pursuant to Section 2.1.1,
any rights of the Sellers under any Contract (it being understood that no Seller shall retain any
rights to enforce any patent rights in any of the Assets for past, present or future infringements
thereof or any damages or equitable relief, regardless of whether any Contract pertains to any of
the Assets);

(d) except as expressly provided herein, including pursuant to Section 2.1.1,
any Intellectual Property or domain names (i) of any Seller or any Affiliate of any Seller, and
(ii) of any Third Party, except pursuant to the Assigned Contracts;

(e) all rights of the Sellers under this Agreement and the other Transaction
Documents;

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(f) all of the rights and claims of the U.S. Debtors, of whatever kind or nature,
available to the U.S. Debtors under (i) the U.S. Bankruptcy Code, including all actions that have
been or may be commenced in the U.S. Bankruptcy Court pursuant to Sections 541, 542, 547,
548, 549 and/or 550 of the U.S. Bankruptcy Code and (ii) any applicable Laws of the United
States, any state, territory or possession thereof or the District of Columbia incorporated into the
Bankruptcy Code pursuant to Section 544 thereof, and any and all proceeds of the foregoing;

(g) all records prepared solely for purposes of the negotiations regarding the
retention, sale or other disposition of the Assets, but excluding, for the avoidance of doubt, the
Patent Related Documentation;

(h) except as contemplated by Section 6.5, the Tax records of the Sellers;

(i) all license agreements to which any of the Sellers is a party other than the
Transferred Licenses (the “Excluded Licenses”);

j) the Excluded Patents; and

(k) any and all other assets and rights of the Sellers not specifically included
in Section 2.1.1.

2.1.3 Assumed Liabilities. On the terms and subject to the conditions set forth
in this Agreement, at the Closing, the Purchaser shall assume and become responsible for, and
perform, discharge and pay when due, the following Liabilities of the Sellers (which, except as
contemplated by clause (c) of this Section 2.1.3, shall not include any Liabilities resulting from
the acquisition, ownership, use, operation or maintenance of the Assets prior to the Closing), and
which, for the avoidance of doubt, shall not include any Excluded Liabilities) (the “Assumed
Liabilities”):

(a) all Liabilities with respect to the ownership or exploitation of the Assets
by or through the Purchaser arising after the Closing Date, including all such Liabilities related
to Actions or claims brought against the Assets to the extent such Actions or claims relate to
post-Closing ownership or exploitation by or through the Purchaser of the Assets, and all
maintenance fees and prosecution costs related to the Transferred Patents associated with the
ownership or exploitation by or through the Purchaser of the Assets, or otherwise arising by or
through the Purchaser, after the Closing Date;

(b) all Liabilities arising from or in connection with the performance of the
Assigned Contracts (or breach thereof) after the Closing Date or constituting Cure Costs payable
by the Purchaser pursuant to Section 2.1.7 (subject to the limits set forth in Section 2.1.7);

(c) all Liabilities for any Tax that the Purchaser bears under Article VI (for
the avoidance of doubt, other than pursuant to Section 6.9(a)); and

(d) except to the extent otherwise expressly set forth in Section 5.28, all
Liabilities related to or arising from any of the following: (i) the Purchaser’s or its limited
partner’s employment or termination of employment of Transferring Employees arising after the
Closing Date; (ii) the terms of any offer of employment to any Employees who is provided an

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offer pursuant to the terms of Section 5.28 and (iii) all Liabilities related to Transferring
Employees expressly assumed by Purchaser as set forth in Section 5.28.

2.1.4 Excluded Liabilities. Except as expressly provided in Section 2.1.3 or
2.1.8, the Purchaser shall not assume at the Closing any of the Liabilities of any Seller or any of
the Sellers’ Affiliates (collectively, the “Excluded Liabilities”). The Sellers and the Purchaser
hereby acknowledge and agree that the Purchaser shall not accept, assume, agree to pay, perform
or otherwise discharge or satisfy or be liable for any Excluded Liabilities. Without limiting the
foregoing (but subject to Sections 2.1.3 and 2.1.8), Excluded Liabilities include:

(a) all Liabilities of any Seller or of any Affiliate of any Seller under
Contracts that are not Assigned Contracts;

(b) all Liabilities for any Tax other than those that the Purchaser is required to
bear under Article VI;

(c) all Liabilities of any Seller or any Affiliate of any Seller respecting
employees, collective bargaining agreements, pensions, benefits, product liability, environmental
contamination or remediation;

(d) all Liabilities of any Seller or any Affiliate of any Seller constituting
losses, costs or expenses (including fines, penalties, attorney fees and the costs of any
investigations) associated with, relating to or arising out of any action, arbitration, audit, claim,
hearing, investigation, litigation, or suit (whether civil, criminal, administrative, investigative, or
informal) commenced, brought, conducted, or heard by or before any Government Entity or
arbitrator against the Sellers or any of their Affiliates or any of their respective representatives,
or the Assets;

(e) all Liabilities of any Seller or any Affiliate of any Seller arising from state,
provincial or bankruptcy law theories of recovery, including fraudulent transfer;

(f) any and all Liabilities of any Seller or of any Affiliate of any Seller not
specifically included in Section 2.1.3 or specifically assumed by the Purchaser pursuant to
Section 2.1.8;

(g) all Employee Excluded Liabilities.

2.1.5 Assumption and Assignment of 365 Contracts. The U.S. Debtors shall
seek the approval of the U.S. Bankruptcy Court to the assumption and assignment of the 365
Contracts effective as of the Closing as part of the U.S. Sale Order in accordance with
Section 5.1.

2.1.6 Assignment of Non-365 Contracts.

(a) Subject to the receipt of any required Consent, all of the Non-365
Contracts in effect as of the Closing shall be assigned to the Purchaser at Closing pursuant to
Section 2.1.1(b).

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(b) The Parties shall use their reasonable best efforts to obtain all Consents
required to permit the assignment to the Purchaser of the Non-365 Contracts in force as of the
Closing Date; provided, however, that the Sellers shall be under no obligation to compromise
any right, asset or benefit or to expend any amount or incur any Liability in seeking such
Consents. For greater certainty, the failure to obtain any or all of such Consents described in the
foregoing sentence shall not in itself entitle the Purchaser to terminate this Agreement or fail to
complete the transactions contemplated hereby or entitle the Purchaser to any adjustment to the
Purchase Price.

2.1.7 Cure Costs; Adequate Assurance.

(a) To the extent that assumption and assignment of any 365 Contract entails
the payment of any Cure Cost, the Purchaser shall pay or otherwise provide for payment of such
Cure Cost, as required by the U.S. Bankruptcy Code and provided in the U.S. Sale Order or, in
the case of a Non-365 Contract, as may be agreed with the counterparty with respect thereto. No
payment of Cure Costs by the Purchaser under this Section 2.1.7 shall entitle the Purchaser to
any adjustment to the Purchase Price.

(b) Prior to the hearing before the U.S. Bankruptcy Court to assume the 365
Contracts, the Purchaser shall provide adequate assurance of its future performance under each
365 Contract to the parties thereto (other than the U.S. Debtors) in satisfaction of
Section 365(f)(2)(B) of the U.S. Bankruptcy Code and to the extent required by the U.S. Sale
Order.

2.1.8 Non-Assignable Assets. Notwithstanding anything in this Agreement to
the contrary, if any requisite Consent of a Third Party (including a Government Entity) has not
been obtained on or prior to the Closing and an attempted direct or indirect sale, transfer, lease,
sublease or assignment of such Asset, without such Consent, would constitute a breach, default,
violation or other contravention of Law or the rights of such Third Party or would be ineffective
with respect to any party to a Contract concerning such Asset, then, unless any such Consent is
subsequently obtained, this Agreement shall not constitute an agreement to sell, transfer or
assign, directly or indirectly, any Asset or any obligation or benefit arising thereunder. For the
avoidance of doubt, the Parties acknowledge that, subject to Article VII and Article IX, failure to
obtain any such Consent shall not entitle the Purchaser to terminate this Agreement or fail to
complete the transactions contemplated hereby or entitle the Purchaser to any adjustment of the
Purchase Price. In the case of Assets (i) that cannot be transferred or assigned without the
consent of Third Parties, which consent has not been obtained prior to the Closing, the Sellers
shall, at the Sellers’ sole out-of-pocket cost, reasonably cooperate with the Purchaser in
endeavoring to obtain such Consent (but, for the avoidance of doubt, Seller shall not be required
pursuant to this clause (i) to pay any fee or other consideration to any Third Party whose consent
is required in connection with the transfer of any Assets) and, if any such Consent is not
obtained, the Sellers shall, following the Closing, cooperate with the Purchaser in all reasonable
respects to enter into an arrangement reasonably acceptable to the Purchaser and the Primary
Seller Parties pursuant to which the Purchaser would obtain the benefit of such Asset, Contract
or other commitment and assume the obligations and economic burden thereunder (it being
understood, without limiting the generality of the foregoing, that in the event that a Consent
required for the transfer or assignment of a Transferred Patent or Specified UK Patent is not

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obtained by the Closing, the Sellers shall, concurrently with the Closing and to the maximum
extent and scope permitted by applicable Law and not prohibited by any Contract (including the
licenses listed in Section A.I(b) of the Sellers Disclosure Schedule), grant the Purchaser an
irrevocable, worldwide, royalty free, perpetual, exclusive (subject to pre-existing license grants
of the type subject to which Assets are assigned pursuant to Section 2.1.1(a)), freely assignable,
sublicensable, transferable and fully paid up license under such Patent; or, if the Sellers are not
permitted by applicable Law or are prohibited by a Contract from granting such an exclusive
license, the Sellers shall grant the license to the Purchaser as a non-exclusive license to the
maximum extent and scope permitted by applicable Law and not prohibited by any Contract
(including the licenses listed in Section A.I(b) of the Sellers Disclosure Schedule); it being
further understood that the terms of any such license with respect to the Specified UK Patents is
set forth in the form of Closing Date License Agreement attached hereto as Exhibit L), or (ii) that
are otherwise not transferable or assignable, the Sellers shall, following the Closing, reasonably
cooperate with the Purchaser to enter into an arrangement pursuant to which the Purchaser would
obtain the benefit of such Asset, Contract or other commitment and assume the obligations and
economic burden thereunder. The obligation of the Sellers to provide such reasonable
cooperation under this Section 2.1.8 shall continue for at least one (1) year following the Closing
Date and shall thereafter continue until such time as a Seller shall determine in good faith that
the discontinuance of its cooperation is reasonably necessary to effectuate its winding up and/or
dissolution (in which case such cooperation obligations under this Section 2.1.8 shall terminate
only as to such Seller). The Parties acknowledge and agree that the obligations under this
Section 2.1.8 shall not affect the right of any Seller to wind down pursuant to applicable Law at
any time after the date that is one year after the Closing Date.

2.1.9 Assignment of Title to Patent Related Documentation. Except for those
interests in tangible embodiments of the Patent Related Documentation retained by the Sellers

pursuant to Section 2.1.1(c), all of the Sellers’ right, title and interest in and to any and all
tangible embodiments of the Patent Related Documentation as of the Closing Date, whether or
not the tangible embodiments of such Patent Related Documentation are in Sellers’ possession or
control, shall be transferred and assigned to the Purchaser at Closing.

SECTION 2.2. Purchase Price.

2.2.1 Purchase Price. Pursuant to the terms and subject to the conditions set
forth in this Agreement, in consideration of the sale of the Assets pursuant to the terms hereof,
the Purchaser shall assume and become obligated to pay, perform and discharge, when due, the
Assumed Liabilities and shall pay to the Distribution Agent as agent for the Sellers an aggregate
amount of cash equal to Four Billion Five Hundred Million Dollars ($4,500,000,000) (the
“Purchase Price”),less (i) the amount of the Good Faith Deposit together with actual earnings
thereon, less (ii) any Optioned Licenses Fees; provided that, for the avoidance of doubt, amounts
of or in respect of Transfer Taxes shall be paid directly to the relevant Seller, Joint
Administrators, the French Liquidator or Tax Authority pursuant to and in accordance with the
relevant provisions of this Agreement.

2.2.2 Good Faith Deposit.
(a) (Reserved. ]

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(b) If the Closing occurs, the Good Faith Deposit, together with actual
earnings thereon, shall be deposited with the Distribution Agent and applied to the Purchase
Price to be paid by the Purchaser pursuant to Section 2.2.1; or

(c) If the Closing does not occur and this Agreement is terminated in
accordance with the terms hereof, and there are damages payable under this Agreement to any of
the Sellers by the Purchaser in excess of any damages payable to the Purchaser by any of the
Sellers under this Agreement, the Good Faith Deposit, together with actual earnings thereon,
shall be applied to such excess damages, after which the remainder of the Good Faith Deposit,
together with actual earnings thereon, shall be returned to the Purchaser; or, if no such excess
damages are payable to the Sellers, the Good Faith Deposit, together with actual earnings
thereon, shall be returned to the Purchaser.

2.2.3 Purchase Price Allocation.

(a) The Parties shall (i) first allocate to the tangible Assets, if any, a
proportion of the Purchase Price (and, to the extent properly taken into account under the
applicable Tax Laws, the Assumed Liabilities), equal to the net book value of such Assets as of
the Closing Date and (ii) then allocate the balance of the Purchase Price, as adjusted in clause
(i) of this Section, to the intangible Assets.

(b) To the extent necessary to file Transfer Tax Returns, the Parties shall
negotiate in good faith to determine an allocation of the Purchase Price (and, to the extent
properly taken into account under the applicable Tax Laws, the Assumed Liabilities), among the
Assets in accordance with the principles of Section 1060 of the Code and the Treasury
regulations promulgated thereunder and other applicable Tax Laws, which allocation shall be
subject to the principles of Section 2.2.3(a) (such allocation, a “Partial Allocation”). The
Purchaser shall deliver to the other Primary Party a proposed Partial Allocation within ten (10)
Business Days after the Closing Date. If the Parties do not reach agreement on a Partial
Allocation after negotiating in good faith for a period of ten (10) Business Days from the date
upon which the Purchaser delivers to the other Primary Party its proposed Partial Allocation, the
Partial Allocation shall be submitted to the Accounting Arbitrator, which shall prepare a final
Partial Allocation; provided,h owever, that if a different Partial Allocation is required by a
Government Entity (including for this purpose an allocation required, approved or authorized
pursuant to a Bankruptcy Proceeding), then the Partial Allocation shall be modified as necessary
to be consistent with the required allocation (but in all cases shall be subject to the principles of
Section 2.2.3(a)). Notwithstanding the preceding sentence, if the Parties have not reached
agreement on the Partial Allocation and the Accounting Arbitrator has not submitted its
determination on or before the date that a Transfer Tax Return is required to be filed with the
relevant Tax Authority (giving effect to any valid extensions) pursuant to Section 6.7(b), then
such Transfer Tax Return shall be timely filed in the manner that the Party with primary
responsibility for paying the liability associated with such return reasonably determines and
shall, upon receiving the Accounting Arbitrator’s later determination and to the extent permitted
under applicable Law, promptly file an amended return in accordance therewith. The Parties
agree (i) to be bound by the final Partial Allocation accepted by the Parties or prepared by the
Accounting Arbitrator (as modified to be consistent with the allocation required by a
Government Entity, as described above), as applicable, and (ii) to act in accordance with the

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allocations contained in such final Partial Allocation for all purposes relating to Transfer Taxes
(including the preparation and filing of any Transfer Tax Returns).

SECTION 2.3. Closing.

2.3.1 Closing Date. The completion of the purchase and sale of the Assets and
the assumption of the Assumed Liabilities (the “Closing”) shall take place at the offices of
Cleary Gottlieb Steen & Hamilton LLP in New York,New York, commencing at 8:00 am
New York time on the date which is five (5) Business Days after the day upon which all of the
conditions set forth under Article VII (other than conditions to be satisfied at the Closing, but
subject to the waiver or fulfillment of those conditions) have been satisfied or, if permissible,
waived by the Primary Seller Parties and/or the Purchaser (as applicable), or on such other place,
date and time as shall be mutually agreed upon in writing by the Purchaser and the Primary
Seller Parties (the day on which the Closing takes place being the “Closing Date”). The Closing
will be deemed completed at the time the Parties release and exchange signature pages and the
Sellers, Distribution Agent and the Purchaser, as applicable, receive the deliverables set forth in
Section 2.3.2.

Upon occurrence of the Closing, simultaneously with the deliveries by the
Purchaser described in Section 2.3.2(a), legal title, equitable title and risk of loss with respect to
the Assets will thereupon transfer to the Purchaser, and the Assumed Liabilities will be assumed
by the Purchaser in accordance with the terms hereof.

2.3.2 Closing Actions and Deliveries. At the Closing:

(a) The Purchaser shall deliver to the Distribution Agent, as distribution agent
for the Sellers, an amount equal to the Purchase Price minus the Good Faith Deposit (together
with any actual earnings thereon) by wire transfer in immediately available funds to an account
or accounts designated at least two Business Days prior to the Closing Date by the Distribution
Agent in a written notice to the Purchaser;

(b) The Sellers shall deliver, or cause to be delivered, to the Purchaser:

(i) all duly executed instruments of conveyance and assignment as the
Purchaser shall reasonably deem necessary or appropriate to vest in the Purchaser
(or its designee, as the case may be) each Seller’s right, title and interest in, to and
under the Assets and Assigned Contracts;

(ii) | acopy of each of the U.S. Sale Order and the Canadian Approval
and Vesting Order;

(iii)the office _r’s certificate required to be delivered pursuant to
Section 7.2(c);

(iv) | anexecuted Monitor’s certificate substantially in the form attached

to the Canadian Approval and Vesting Order, provided that all events to be
certified therein by the Monitor have occurred;

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(v) subject to Section 5.11, a true, complete and (except to the extent
executed copies thereof are not theretofore obtained pursuant to Section 5.8(d),
the Contracts listed in Section 2.3.2(b) of the Sellers Disclosure Schedule)
executed copy of each (A) Outbound License Agreement, Cross License
Agreement, Joint Ownership Agreement and Continuing Unlisted License (if
any), (B) agreement and other document at any time contained in the Data Room
and available to the Purchaser, other than documents that have been updated or
superseded by subsequent drafts of such documents the latest drafts of which are
available in the Data Room as of the date hereof, (C) Transferred License and
(D) non-disclosure agreement signed in connection with discussions concerning
potential infringement, sale or licensing of any of the Transferred Patents or
Specified UK Patents within the past two (2) years (it being understood that
(1) the Sellers shall deliver to the Purchaser all such agreements and documents as
provided in clauses (A)-(D) above in unredacted form except to the extent that the
Sellers may be prohibited by applicable Law or by the terms of a Contract
existing prior to the date hereof from providing unredacted versions to the
Purchaser, in which case, the Sellers shall deliver to the Purchaser versions of
such agreements and other documents redacted solely to the extent required by the
applicable Law or Contract, (2) in accepting redacted copies of such agreements
or other documents, the Purchaser is not waiving its rights to review or compel
disclosure of unredacted versions of such agreements or other documents in future
legal proceedings relating to the Assets, or otherwise and (3) no Party is hereby
acknowledging that such delivery of unredacted versions is in fact prohibited);

(vi) the Patent Power of Attorney; and

(vii) the letters to the Sellers’ counsel to be delivered pursuant to
Section 5.8(b)(ii).

(c) Each Primary Party shall deliver, or cause to be delivered, to the other any
other documents reasonably requested by such other Primary Party in order to effect, or evidence
the consummation of, the transactions contemplated herein, including the Short-Form
Assignments, the Closing Date License Agreement and the Common Interest Agreement.

(d) The Purchaser and NNL shall deliver a duly executed copy of the
Assumption Agreement.

ARTICLE III
REPRESENTATIONS AND WARRANTIES OF THE PURCHASER

The Purchaser hereby represents and warrants to the Sellers as follows:

SECTION 3.1. Organization and Corporate Power.

(a) The Purchaser is a limited partnership duly organized and validly existing
and in good standing under the Laws of Delaware. The Purchaser has all requisite power and

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authority to enter into, deliver and perform its obligations pursuant to this Agreement and any
Transaction Documents to which it is or will become a party.

(b) The Purchaser is qualified to do business as contemplated by this
Agreement and the other Transaction Documents to which it is or will become a party and to
own or lease and operate its properties and assets, including, following the Closing, the Assets,
except to the extent that the failure to be so qualified would not, individually or in the aggregate,
materially hinder, delay or impair the Purchaser’s ability to carry out its obligations under, and to
consummate the transactions contemplated by, this Agreement.

SECTION 3.2. Authorization: Binding Effect; No Breach.

(a) The execution, delivery and performance of each Transaction Document
to which the Purchaser is, or at the Closing Date will be, a party have been duly authorized by
the Purchaser. Assuming due authorization, execution and delivery by the relevant Sellers, each
Transaction Document to which the Purchaser is, or at the Closing Date will be, a party
constitutes, or upon execution thereof will constitute, a valid and binding obligation of the
Purchaser, enforceable against the Purchaser in accordance with its respective terms.

(b) The execution, delivery and performance by Purchaser of the Transaction
Documents to which the Purchaser is, or on the Closing Date will be, a party do not and will not
conflict with or result in a breach of the terms, conditions or provisions of, constitute a default
under, result in a violation of, or require any Consent of any Person (other than the Mandatory
Regulatory Approvals) or other action by or declaration or notice to any Government Entity
pursuant to (i) the certificate of formation or limited partnership agreement (or similar governing
document) of the Purchaser; (ii) any Contract or other document to which the Purchaser, as
applicable, is a party or to which any of the Purchaser’s assets, as applicable, is subject; or
(iii) any Laws to which the Purchaser or any of the Purchaser’s assets is subject; except, in the
case of clauses (ii) and (iii) of this sentence, for such defaults, violations, actions and
notifications that would not, individually or in the aggregate, materially hinder, delay or impair
the Purchaser’s ability to carry out its obligations under, and to consummate the transactions
contemplated by, this Agreement.

SECTION 3.3. Financing. (a) The Purchaser has delivered to the Sellers
correct and complete copies of executed commitment letters of even date herewith (such
commitment letters collectively, the “Commitment Letters”) pursuant to which the other parties
thereto (the “Equityholders”) has each committed, subject solely to the terms and conditions
expressly set forth therein, to make capital contributions and other payments to the Purchaser for
purposes of funding the transactions contemplated herein and paying any other amount due
hereunder or in respect hereof (the “Commitments”). The Commitment Letters in the forms so
delivered are valid and in full force and effect and are legal, valid and binding agreement of the
Equityholders, enforceable against the Equityholders in accordance with their respective terms.
Except as set forth in the Commitment Letters there are no conditions precedent to the
obligations of the Equityholders to fund the Commitments.

(b) Upon the funding of the Commitments in accordance with and subject to
their terms and conditions, Purchaser will have, as of the Closing, (i) sufficient funds available

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for purposes of paying the Purchase Price (less the amount of the Good Faith Deposit) and
paying any other amount due hereunder or in respect hereof, and (ii) the resources and
capabilities (financial or otherwise) to perform its obligations hereunder, including the Assumed
Liabilities. The Purchaser has not, as of the date hereof, and will not have, as of the Closing,
incurred any obligation, commitment, restriction or liability of any kind that would materially
impair or adversely affect such resources and capabilities. The Purchaser’s obligations to
consummate the transactions contemplated by this Agreement are not conditioned or contingent
in any way upon the receipt of financing from any Person or the availability of funds to the
Purchaser (including the Commitments).

SECTION 3.4. Adequate Assurance of Future Performance. To the extent
required by any U.S. Bankruptcy Laws, the Purchaser will be able to provide, at Closing or on
such earlier date as is designated by the U.S. Bankruptcy Court, adequate assurance of its future
performance under each 365 Contract to the parties thereto (other than the U.S. Debtors) in
satisfaction of section 365(f)(2)(B) of the U.S. Bankruptcy Code. The Purchaser acknowledges
and agrees that, if it becomes necessary to provide a 365 Contract counterparty with additional
assurances to satisfy the Purchaser’s obligations under Section 2.1.7, the Purchaser shall perform
all actions and bear all such costs and expenses as may be necessary or advisable in connection
with its obligations under Section 2.1.7 without recourse to any Seller.

SECTION 3.5. Purchaser’s Acknowledgments; Exclusivity of
Representations and Warranties.

(a) The Purchaser is experienced and sophisticated with respect to
transactions of the type contemplated by this Agreement and the other Transaction Documents.
In consultation with experienced counsel and advisors of its choice, the Purchaser has conducted
its own independent review and analysis of the Assets, the Assumed Liabilities, and the rights
and obligations it is acquiring and assuming under this Agreement and the other Transaction
Documents. The Purchaser acknowledges that it and its representatives have been permitted
such access to the books and records, contracts and other properties related to the Assets as it
required to complete its review, and that it and its representatives have been provided with an
opportunity to meet with the officers and other employees of the Sellers, to discuss the conduct
of business related to the Assets.

(b) The Purchaser acknowledges and agrees that:

(i) except for the representations and warranties expressly set forth in
Article IV and the statements set forth in Annex I, the Purchaser has not relied on,
and hereby specifically disclaims, any representation or warranty from the Sellers
or any Affiliate of any such Person, or the Joint Administrators, the French
Liquidator or any of their firms, partners, employees, agents, advisors or
representatives or any employee, officer, director, accountant, financial, legal or
other representative of the Sellers or by the Joint Administrators, the French
Liquidator or any of their firms, partners, employees, agents, advisors or
representatives in determining whether to enter into this Agreement;

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(ii) | except for the representations and warranties expressly set forth in
Article [V and the statements set forth in Annex I, none of the Sellers, or any
employee, officer, director, accountant, financial, legal or other representative of
the Sellers, or any Affiliate of any such Person has made any representation or
warranty, express or implied, as to the Assets (including any implied
representation or warranty as to the condition, merchantability, suitability or
fitness for a particular purpose of any of the Assets including under the
International Convention on Contracts for the Sale of Goods (Geneva
Convention) and any other applicable sale of goods Laws), the Assumed
Liabilities, or any Affiliate of any such Person or as to the accuracy or
completeness of any information regarding any of the foregoing that the Sellers,
or any other Person furnished or made available to the Purchaser or its
representatives (including any projections, estimates, budgets, offering
memoranda, management presentations or due diligence materials);

(iii)none of the Sellers, the Joint Administrators, the Fren ch Liquidator
or any other Person shall have or be subject to any Liability to the Purchaser or
any other Person resulting from the distribution to the Purchaser, or the
Purchaser’s use, of the information referred to in Section 3.5(b)(ii); and

(iv) the enforceability of this Agreement against the Sellers is subject
to entry of the U.S. Sale Order and Canadian Approval and Vesting Order.

(c) Without limiting the generality of the foregoing, THE PURCHASER
ACKNOWLEDGES AND AGREES THAT, EXCEPT AS EXPRESSLY PROVIDED HEREIN
(INCLUDING IN ANNEX I), THERE ARE NO EXPRESS OR IMPLIED WARRANTIES OF
MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE OR TITLE OF ASSETS,
OR NONINFRINGEMENT OF THIRD PARTY INTELLECTUAL PROPERTY, OR
REGARDING THE SCOPE, VALIDITY OR ENFORCEABILITY OF ANY TRANSFERRED
PATENTS, JOINTLY OWNED PATENTS, SPECIFIED UK PATENTS, OR UNDISCLOSED
PATENT INTERESTS.

SECTION 3.6. Brokers. Except for fees and commissions that will be paid
by the Purchaser, no broker, finder or investment banker is entitled to any brokerage, finder’s or
similar fee or commission in connection with the transactions contemplated by this Agreement
and the other Transaction Documents based upon arrangements made by or on behalf of the
Purchaser or any of their Affiliates.

SECTION 3.7. Independence. In respect of NNSA, the Purchaser
acknowledges and agrees that: it wholly satisfies, without limitation, the statutory conditions set
out under Section L.642-3 of the FCC in that (i) neither the Purchaser, nor any director thereof
has been or is a director (administrateur), a managing director (directeur général or directeur
général délégué) or the President (Président) of, or has had or has, directly or indirectly, de facto
Control over, NNSA and (ii) the Purchaser is not directly or indirectly Controlled by: (x) NNSA,
or (y) any past or present director (administrateur), managing director (directeur général or
directeur général délégué) or President (Président) of, or any person having de facto Control

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over, NNSA, or (z) the father, mother, son, daughter, brother or sister (in each case, by blood or
in-law by marriage) of any natural person in clause (y).

ARTICLE IV

REPRESENTATIONS AND WARRANTIES OF THE SELLERS

Except as expressly set forth in the applicable sections of the Sellers Disclosure
Schedule, (i) each of the NA Sellers and Other Sellers jointly and severally represents and
warrants to the Purchaser as set forth in Section 4.1 through Section 4.2(b) and Section 4.3;
(ii) NNC and NNL jointly and severally represent and warrant to the Purchaser as set forth in
Section 4.4 and Section 4.5; and (iii) the Joint Administrators, the EMEA Sellers and NNSA
represent and warrant to the Purchaser as set forth in Sections 4.2(c), (d) and (e), respectively.

SECTION 4.1. Organization and Corporate Power.

(a) Each NA Seller and Other Seller is duly organized and validly existing
under the Laws of the jurisdiction in which it is organized. Subject to entry of the U.S. Sale
Order in the case of the U.S. Debtors and the Canadian Approval and Vesting Order in the case
of the Canadian Debtors and receipt of other Consents required from the U.S. Bankruptcy Court
and the Canadian Court in connection with the transactions contemplated hereby and in the other
Transaction Documents (collectively, the “Bankruptcy Consents”), each of the NA Sellers and
Other Sellers has the requisite corporate power and authority to enter into, deliver and perform
its obligations pursuant to this Agreement and each of the Transaction Documents to which it is
or will become a party.

(b) Each of the NA Sellers and the Other Sellers is qualified to do business
and to own, lease or otherwise hold its properties and assets, including the Assets, and to conduct
its business as presently conducted, as applicable in each jurisdiction in which its ownership of
property or conduct of business relating to the Assets requires it to so qualify, except for
jurisdictions where the failure to be so qualified does not have, and would not reasonably be
expected to have, individually or in the aggregate, a Material Adverse Effect.

SECTION 4.2. Authorization; Binding Effect; No Breach.

(a) Subject to the receipt of the Bankruptcy Consents, the execution, delivery
and performance by each NA Seller and Other Seller of this Agreement and each of the
Transaction Documents to which such NA Seller or Other Seller is, or at the Closing will be, a
party has been duly authorized by such NA Seller or Other Seller. Subject to receipt of the
Bankruptcy Consents, and assuming due authorization, execution and delivery by the Purchaser,
the Transaction Documents to which any NA Seller or Other Seller is or will be a party, will
constitute a legal, valid and binding obligation of such NA Seller or Other Seller, enforceable
against it in accordance with its terms.

(b) Subject to receipt of the Bankruptcy Consents and the Mandatory
Regulatory Approvals, the execution, delivery and performance by each NA Seller and Other
Seller of this Agreement and each of the Transaction Documents to which such NA Seller or

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Other Seller is or will be a party do not and will not conflict with or result in, with or without the
giving of notice or lapse of time or both, a breach of the terms, conditions or provisions of,
constitute a default under, give rise to any right of acceleration, payment, amendment,
cancellation or termination under, result in a violation of, result in the creation or imposition of
any Lien upon any of the Assets pursuant to, or (subject to the receipt of Consents in connection
with the Assigned Contracts, Consents required in connection with the assignment of the Sellers
interest in any of the Specified UK Patents or Patent Related Documentation relating to any
Specified UK Patent and any other Consents expressly provided for herein, in each case to the
extent set forth in Section 4.2(b) of the Sellers Disclosure Schedule) require any Consent (other
than the Mandatory Regulatory Approvals and the Bankruptcy Consents) or other action by or
declaration or notice to any Government Entity or other Person pursuant to (i) the articles,
charter or by-laws (or similar governing document) of the relevant NA Sellers and Other Sellers
or any resolution adopted by the board of directors, shareholders, members or general partners
(as applicable) of any of the Sellers and not rescinded or superseded prior to the date hereof;

(ii) any order of any Government Entity applicable to any NA Seller or Other Seller or by which
any of their respective properties or assets are bound; (iii) any Laws to which any of the NA
Sellers or Other Sellers or any of their respective properties or assets are subject; or (iv) any
Contract or other document to which any of the Sellers is a party or by which any of the Sellers
or their respective properties or assets are bound. Except as may have been asserted in
connection with the Bankruptcy Proceedings, there are no Actions or claims pending or, to the
Knowledge of the Sellers, threatened against or affecting the Sellers in which it is sought to
restrain or prohibit, or to obtain damages or other relief in connection with, the transactions
contemplated hereby.

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(c) The Joint Administrators warrant to the Purchaser that: (i) they are duly
authorized to act as insolvency practitioners in accordance with Part XIII of the Insolvency Act;
and (ii) they were appointed by the English Court on the Petition Date as administrators of each
EMEA Seller in accordance with the Insolvency Act and such appointment has not been
terminated by the English Court or the Joint Administrators.

(d) Each EMEA Seller (acting by the Joint Administrators) warrants to the
Purchaser that, with respect to itself, this Agreement has been duly executed and delivered by a
representative of the Joint Administrators as agent for and on behalf of such EMEA Seller, and
constitutes legal, valid and binding obligations of such EMEA Seller enforceable against such
EMEA Seller in accordance with its terms.

(e) NNSA (acting by the French Liquidator) warrants to the Purchaser that,
with respect to itself, subject to the terms of the French Court Order, it has the requisite corporate
power and authority to enter into, deliver and perform its obligations pursuant to this Agreement
and each of the Transaction Documents to which it is or will become a party.

SECTION 4.3. Brokers. Except for fees and commissions that will be paid
or otherwise settled or provided for by the Sellers, no broker, finder or investment banker is
entitled to any brokerage, finder’s or other similar fee or commission in connection with the
transactions contemplated by this Agreement and the other Transaction Documents based upon
arrangements made by or on behalf of the Sellers or any of their Affiliates.

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SECTION 4.4. Canadian Tax Matters.

(a) | Each of NNC and NNL is not a non-resident of Canada for purposes of the
Income Tax Act (Canada).

(b) At the time of Closing, none of the Assets will be “taxable Canadian
property” as that term is defined in the Income Tax Act (Canada) of any Seller (other than NNC
or NNL).

(c) Each of NNC, NNL and any Seller who is selling Assets used in a
business carried on in Canada has remitted all material amounts that it withheld or collected, on
account of amounts that it was required by applicable Law to have withheld or collected,
including for all Canada Pension Plan contributions, provincial pension plan contributions,
employment insurance premiums, employer health taxes and any other Taxes to the appropriate
Canadian Tax Authority within the time required under applicable Law.

SECTION 4.5. Export Controls. To the Knowledge of the Sellers, the
export, re-export or sale of the Assets by each NA Seller and Other Seller to the Purchaser in the
United States of America for use in the United States of America, in the manner contemplated by
this Agreement and the Transaction Documents, are not controlled under any Canadian Laws
regarding export controls (other than Laws relating to embargoed or sanctioned countries).

ARTICLE V

COVENANTS AND OTHER AGREEMENTS

SECTION 5.1. U.S. Bankruptcy Actions. On the timetables and subject to
the terms set forth below, the U.S. Debtors shall use their reasonable best efforts to obtain U.S.
Bankruptcy Court approval of the U.S. Sale Order:

(a) The Sellers will comply with all noticing and other provisions of the U.S.
Bidding Procedures Order to obtain entry of the U.S. Sale Order.

(b) The U.S. Debtors shall use reasonable best efforts to seek to obtain by July
15, 2011 the approval of the U.S. Bankruptcy Court of an order (as entered, the “U.S. Sale
Order’) approving the sale of the Assets to the Purchaser and the assumption by the Purchaser
of the Assumed Liabilities, in each case as contemplated herein; provided that in any event the
U.S. Debtors shall obtain the U.S. Sale Order no later than 45 days after the date of this
Agreement.

(c) (b) The U.S. Sale Order shall be in the form of Exhibit F hereto with
only such changes as the Purchaser and the Sellers shall approve in their reasonable discretion;
provided, however, that the Purchaser may withhold its consent to any modifications that affect
the relief granted in or the findings of fact and conclusions of law expressed in paragraphs G
through J, R through T, X, 7, 8, 10, 11, 21, 23, 25, 28 through 30 and 37, and the last sentence of
paragraph O of the U.S. Sale Order in its sole discretion.

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